Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 1 of 140




      Exhibit 391
     Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 2 of 140
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                 AAbsolute Proof (Mike Lindell 2020)
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·5
·6· ·Https://www.worldviewweekend.com/tv/video/mike-Lindell-
·7· ·brannon-howse-and-Mary-fanning-present-absolute-proof-
·8· ·exposing-election-fraud
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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 3 of 140
                                                                      2

·1· · · · ·MIKE LINDELL:· Hello, everyone.· This is
·2· ·Mike Lindell, the CEO of MyPillow.
·3· · · · ·As you all know, I have been attacked the
·4· ·last month relentlessly on social media, by
·5· ·newspapers, by TV shows, by -- you name it, I have
·6· ·been attacked.· And myself -- not just myself, but
·7· ·my company.· The boycotts that are going on, box
·8· ·stores are dropping me; social media, they cancel
·9· ·my Twitter.· Today they canceled MyPillow's
10· ·Twitter's account, my company's Twitter account.
11· · · · ·Well, before I was going to get erased
12· ·completely, we put together this show.· And what
13· ·you're going to see today is what they don't want
14· ·you to see, why they're trying to erase me.
15· · · · ·And what I told everyone out there, I said:
16· ·You know what, I've seen evidence.· I've been
17· ·trying to since November 4th to prove -- you know,
18· ·to show what's out there, why -- why are these
19· ·deviations that happened on election night,
20· ·nothing -- none of it made any sense.
21· · · · ·So I dove all in with everything I had,
22· ·resources, anytime I heard something that maybe
23· ·was relevant, I went and said -- you know, looked
24· ·into it, did my own due diligence, had my -- even
25· ·my own investigations.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 4 of 140
                                                                      3

·1· · · · ·Well, the one day -- I think it was like
·2· ·January 9th, all the sudden, these people -- they
·3· ·brought me some -- a piece of evidence that's 100
·4· ·percent proved, it's like a -- a print of -- of
·5· ·inside the machine, of a timestamp, that showed
·6· ·another country -- other countries attacking us,
·7· ·hacking into our election through these machines,
·8· ·and it -- it shows the votes flipped.
·9· · · · ·And I'm going, wow, I got to get this out
10· ·there.· And from that point on, I started putting
11· ·it out there, and that -- that's when they just
12· ·started attacking me.
13· · · · ·Well, they obviously are hiding something,
14· ·and tonight you're going to see what they're
15· ·hiding.· You're going to see on this show, we
16· ·have -- we're going to have cyber-forensic
17· ·experts, we're going to 100 percent -- you're
18· ·going to see all this evidence that by the time
19· ·you're done seeing it, you're going to go, wow.
20· · · · ·100 percent it proves exactly what
21· ·happened, that these machines were used to steal
22· ·our election by other countries, including China.
23· · · · ·But I do want to tell you before we get
24· ·into all that, I want to tell you what I
25· ·consider -- why I am so happy today about two


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 5 of 140
                                                                      4

·1· ·miracles that happened these last couple of
·2· ·months.
·3· · · · ·The first miracle was on election night.
·4· ·And on election night at 11:15 at night, the --
·5· ·the algorithms of these machines broke.
·6· ·Basically, broke.· And I'll -- this will be
·7· ·explained during this show.
·8· · · · ·But they broke.· What that means is, Donald
·9· ·Trump got so many more millions of votes that they
10· ·didn't expect, that they had -- they're going to
11· ·have to go recalibrate, right?
12· · · · ·So that's why all these states shut down.
13· ·All the sudden they all shut down.· And we're all
14· ·going, what?· That's weird.· This has never
15· ·happened in any other election.
16· · · · ·And then we're going, okay, then they -- as
17· ·the days went on going, what?· Another -- another
18· ·week that it takes -- you know, like Arizona to
19· ·count one percent of their vote and -- and you see
20· ·these big spikes, like in Michigan and all these
21· ·big -- you know, votes that were pouring in.
22· · · · ·Nobody understood it, right?· We're --
23· ·we're like living in this kind of Twilight Zone
24· ·during that time.
25· · · · ·Well, that is one miracle there, because


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 6 of 140
                                                                      5

·1· ·think if that wouldn't have happened, think if
·2· ·they would have estimated right and what would
·3· ·have happened is, it would have been just like a
·4· ·normal election at 3:00 in the morning they would
·5· ·have said, oh, Biden won, he won by a little bit;
·6· ·and we would have said, oh, better luck next time.
·7· · · · ·But because he got so many votes it broke
·8· ·that, and -- and set off this series of events of
·9· ·these deviations.
10· · · · ·If that wouldn't have happened, we would
11· ·have never been here talking about biggest attack
12· ·in history, the biggest cyber attack ever; and
13· ·this is -- you know, the American dream would be
14· ·gone forever, because we would have never known.
15· ·And it would have just -- you know, using
16· ·machines, it would have took us over forever.
17· · · · ·Here comes the second -- the second
18· ·miracle.· And with this one I got to show you here
19· ·on the -- on the -- on the chart.· I'm going to go
20· ·through this, and I'm going to tell you why this
21· ·is a miracle.· Okay.
22· · · · ·What we're going to do here, we're going to
23· ·go state-by-state and we're going to show you what
24· ·else happened.
25· · · · ·So here's Arizona.· Okay.· The margin of


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 7 of 140
                                                                      6

·1· ·victory was 10,000 votes that -- that Biden --
·2· ·they say Biden won.
·3· · · · ·Now, if we look at this -- let's go down
·4· ·the chart here, mail-in ballots required
·5· ·adjudication.· Almost 300,000.
·6· · · · ·What these mean are -- these are votes that
·7· ·they put through and you're going to learn that --
·8· ·you're going to learn all about that during this
·9· ·show, too, what adjudication, how that works.
10· · · · ·But let's just go to the next one.· Illegal
11· ·aliens voting, 36,400 illegal aliens voted.
12· · · · ·Do you see that?· He only lost by 10,000.
13· · · · ·Well, of course, they can't vote.· Okay.
14· ·Donald Trump wins Arizona, right?
15· · · · ·We'll just keep going.· Voters registered
16· ·to a vacant lot, 2,000.· Completed mail-in ballots
17· ·received the day before the ballots were even
18· ·mailed.· They got 20- -- or 22,000 ballots back in
19· ·Arizona before they had even mailed the ballots
20· ·out, what?· That's kind of bizarre, right ?
21· · · · ·Okay.· Keep going.· Down here, Maricopa
22· ·County electronic adjudicated ballots, 103,000.
23· ·Votes loaded before opening of polls -- so the
24· ·votes were even loaded -- they were already in
25· ·there before the polls even opened -- 50,000.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 8 of 140
                                                                      7

·1· · · · ·Okay.· Let's just -- so you see all that.
·2· ·Let's go to the next state here.· I'm going to
·3· ·skip Georgia and come back to it.
·4· · · · ·Let's go to Michigan.· Michigan, dead
·5· ·voters 17,367.· And this is so -- Michigan is kind
·6· ·of its own -- we're going to talk about Michigan,
·7· ·it's very different than the other states, what
·8· ·went on there; so it's all grouped together.
·9· ·615,000 votes that are just in -- in question.
10· ·And we're going to skip that part.· Okay.
11· · · · ·Let's go to the next one here, Nevada.
12· ·Okay.· Here's Nevada:· Illegal aliens have voted
13· ·in this election, 4,000.· Mail-in or absentee
14· ·ballots for voters that were known to have voted
15· ·in other states, 15,000.
16· · · · ·Clark County used signature verification,
17· ·(inaudible) the image quality that was suggested
18· ·by the manufacturer, and to check the mail-in
19· ·ballots signatures, 130,000.
20· · · · ·We'll just skip through that.· Raffle
21· ·tickets that they were incentivized, 500.
22· · · · ·Here we go, here's a big one:· Dead people
23· ·who voted, 1,506.· Non-Nevadians who voted in
24· ·Nevada, they don't even live in Nevada, 19,218.
25· ·Voters who double voted, 42,284.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 9 of 140
                                                                      8

·1· · · · ·Okay.· And you can see, they add up to over
·2· ·200,000.· Donald Trump lost by 34,000 votes.
·3· ·Okay.
·4· · · · ·Let's go to the next one, Pennsylvania.
·5· ·Mail-in votes that counted without a Republican
·6· ·observer -- we've all heard that stuff, it's well
·7· ·over 600,000.· Mail-in ballots, 68.· Here's
·8· ·another one, too, we can almost -- we're going to
·9· ·hear -- you're going to hear a lot about this
10· ·during this thing, but let's go down -- poll
11· ·workers that voted with various errors in the
12· ·bins -- this is the one where you heard the
13· ·(inaudible) ballots that were driven from New York
14· ·to Pennsylvania; you'll hear a little about that
15· ·in the show, too.
16· · · · ·But this is -- we're going to go by
17· ·Pennsylvania.· You can all see it adds up to
18· ·866,000.· Donald Trump lost by 68,000.· And there
19· ·will be a point to all this I'm getting to.
20· · · · ·Okay.· Here's Wisconsin.· Wisconsin,
21· ·(inaudible) of identify combined voters in 2020,
22· ·that's a -- it's a -- that would take a while to
23· ·explain, but there was 130,000.· U.S. Postal
24· ·Service, backdated ballots, 100,000.· Okay.
25· ·That's incredible if you -- as you look into it.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 10 of 140
                                                                       9

·1· · · · ·The mail-in ballots entry and the
·2· ·tabulation (inaudible) other under the guise of
·3· ·absentee ballots in clear violation of state law,
·4· ·170,000.
·5· · · · ·Okay.· Wisconsin -- the margin of victory
·6· ·for Biden was 20,000 votes.· Now we're going to go
·7· ·to -- back to Georgia.· Okay.
·8· · · · ·Everyone knows the President called the
·9· ·Secretary of State in Georgia, and on that call
10· ·he -- he said -- he was listening (inaudible), to
11· ·the Secretary of State, he said:· Okay, you have
12· ·felons with incomplete sentences that voted and
13· ·cast their vote, 2,560.· Underage children that
14· ·registered to vote and illegally voted, 66,247.
15· · · · ·Unregisters voted who -- voters who voted,
16· ·2,423.· Registered voters who voted in another
17· ·state after their Georgia registration date,
18· ·4,926.· Voters who voted in Georgia and also voted
19· ·in another state, 395.
20· · · · ·Voters who voted in Georgia, but changed
21· ·their address before the election to do it,
22· ·15,700.· People who failed to pre-register to vote
23· ·in their county in time after moving from one
24· ·county to another 40,279.
25· · · · ·Voters who illegally claimed a post office


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 11 of 140
                                                                       10

·1· ·box as their resident, (sic) 1,043.· Voters who
·2· ·registered too late to vote in the election, 98.
·3· ·People who died prior to the election, they didn't
·4· ·-- they were already dead, 10,315.
·5· · · · ·Okay.· Ballots with no chain of custody --
·6· ·we'll probably talk a little bit about that in
·7· ·this show, too -- 600,000.
·8· · · · ·And here's what the President said to the
·9· ·Secretary of State in Georgia:· Can you just give
10· ·us -- why don't you just give us your -- it's
11· ·only -- he only lost by 11,730 votes, he said:
12· ·How about you just give us your underage that
13· ·voted or your dead people, and we win.
14· · · · ·It didn't make sense.· You say, how about
15· ·this?· This -- this line here, the people who
16· ·failed to register, 40,000.· Can you just give us
17· ·them?· He said, just give -- he -- he named the
18· ·columns.
19· · · · ·And you know what the Secretary of State of
20· ·Georgia said:· Those numbers are wrong.
21· · · · ·And -- and the President said:· Well, where
22· ·we -- what -- who gave us the numbers?· He asked
23· ·his guy, and that guy said:· We got them from the
24· ·Secretary of State's office.
25· · · · ·And the President said to the Secretary of


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 12 of 140
                                                                       11

·1· ·State:· Well, when can we get the right numbers?
·2· · · · ·And the other guy said:· Sir, we've been
·3· ·trying to get them from the Secretary of State for
·4· ·almost two months.
·5· · · · ·And the point being here -- now, here comes
·6· ·the point I'm making, here's -- this is all the
·7· ·second miracle of the election.· Every one of
·8· ·these states should have been -- and two plus two
·9· ·is four, right?· You should say:· Okay, you can't
10· ·count dead people, you can't count underage
11· ·people -- every one of these states, Donald Trump
12· ·wins if the electors would have done their job,
13· ·the legislatures, if the -- if the governors
14· ·wouldn't have said, you know, hey, it's good.
15· · · · ·All these things that happened -- all these
16· ·anomalies that happened, it would have -- it never
17· ·happened before, but much less one state, they all
18· ·say that that, hey, we're going to go ahead and
19· ·use this stuff, and we're going to declare Joe
20· ·Biden the winner.
21· · · · ·But here's the big thing, the big miracle,
22· ·if they would have done that, if they would have
23· ·done that and said, you know what, if we can't
24· ·count these, Mr. Trump wins.· Donald Trump wins.
25· ·Okay.· Then we wouldn't be where we're at right


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 13 of 140
                                                                       12

·1· ·now, because the biggest thing against humanity
·2· ·and our country is this attack through these
·3· ·machines.
·4· · · · ·They got -- this opened up -- this revealed
·5· ·the -- the machines to where we're at right now.
·6· ·So what you're going to watch during this show is
·7· ·100 percent proof that the big thing was the theft
·8· ·by these other countries that came in to attack
·9· ·our country through these machines that are made
10· ·to steal elections.
11· · · · ·Every election going forward in history, if
12· ·these things would have happened, these two -- and
13· ·we wouldn't have -- we would have never known,
14· ·every single vote you would have ever made
15· ·wouldn't have mattered.· Somebody else would have
16· ·made that vote.
17· · · · ·And we've all seen in this past month --
18· ·you think it was a communist coming in and taking
19· ·us over with people here.· This is an attack, not
20· ·only on other -- those other countries with
21· ·communism, but they had domestic traitors right
22· ·here in our country.· Whatever is going on right
23· ·now, we're seeing it.· They're suppressing cancel
24· ·culture.· They're trying to cancel us all out.
25· · · · ·I just seen churches, the Christian


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 14 of 140
                                                                       13

·1· ·churches, they're being attacked right now.
·2· ·People on social media -- anyone that speaks up,
·3· ·they're going, you can't say that, (makes sound)
·4· ·you're gone.
·5· · · · ·It's like -- right now they're doing
·6· ·Whac-A-Mole because they know -- they knew they
·7· ·were so close, so close that we would never know
·8· ·in history what happened.
·9· · · · ·But guess what, now we do know and you're
10· ·all going to know, and when you watch this and you
11· ·get through it, at the end I'm going to tell you
12· ·what you can all do; and we're going to start our
13· ·show right now, and you guys are going to be
14· ·absolutely amazed.
15· · · · ·And now we have with us Colonel Phil
16· ·Waldron.
17· · · · ·COLONEL PHIL WALDRON:· Yes.· So my -- my
18· ·background in the military is with influence
19· ·operations, information operations, that --
20· ·information warfare, if you will.
21· · · · ·MIKE LINDELL:· You know what we're talking
22· ·about here today is specific -- these machines
23· ·that were used to -- to have hack into our
24· ·election and -- and -- by foreign countries,
25· ·including China, and what -- what did you -- kind


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 15 of 140
                                                                       14

·1· ·of bring us up through the election for yourself,
·2· ·and what -- and how you've gotten so involved
·3· ·right now.
·4· · · · ·COLONEL PHIL WALDRON:· Yeah.· We -- we
·5· ·began looking -- working with our partners in --
·6· ·in Dallas at Allied Security Operations Group,
·7· ·with doing some analysis on the data that they
·8· ·had, looking at -- not only Dominion, but ES&S and
·9· ·Hart, several of the other electronic voting
10· ·management systems.
11· · · · ·And we saw a lot of similarities and -- and
12· ·vulnerabilities in the systems that would be
13· ·easily influenceable or easily interdicted.
14· · · · ·And again, as a -- as an information
15· ·warfare officer, that's what I did.· I looked for
16· ·vulnerabilities and ways to attack systems to
17· ·create a strategic advantage for U.S.-friendly
18· ·forces.
19· · · · ·And so when we started seeing the
20· ·vulnerabilities and all the different ways that
21· ·you could interdict this -- these electronic
22· ·voting systems, it became apparent that we had a
23· ·problem for the -- the November 3rd election.· And
24· ·that prompted us to spend a lot of time working
25· ·with Russ Ramsland, getting a lot of the -- the


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 16 of 140
                                                                       15

·1· ·historical data, the knowledge.· We started
·2· ·working on our own, really doing a lot of
·3· ·connecting-the-money exercises, doing -- doing
·4· ·basic investigative research.
·5· · · · ·And then I brought in our -- our local DHS
·6· ·team here in Texas, both the intelligence and
·7· ·assessments division, which collects -- collects
·8· ·intelligence for -- for the Department of Homeland
·9· ·Security, and the CISA, our local CISA rep.· And
10· ·we spent quite a bit of time giving them a -- an
11· ·introduction o what -- what we saw, and the
12· ·vulnerabilities and the ways that these systems
13· ·could be enter to change election outcomes at --
14· ·you know, the -- the machine-level, the
15· ·server-level, fraud at the local-level, which --
16· ·you know, is required to induce the -- the
17· ·illegitimate ballots.
18· · · · ·MIKE LINDELL:· Right.
19· · · · ·COLONEL PHIL WALDRON:· Then you got to --
20· ·the machine-level, which is kind what you were
21· ·talking about, the --
22· · · · ·MIKE LINDELL:· Right.
23· · · · ·COLONEL PHIL WALDRON:· -- the -- the
24· ·algorithms that are directly input into the
25· ·tabulators.· And we have evidence of that in -- in


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 17 of 140
                                                                       16

·1· ·Ware County, Georgia, that -- you know, X-amount
·2· ·of ballots went through, and they -- they
·3· ·basically stole 13 percent of the vote from
·4· ·President Trump and put that 13 percent of the
·5· ·vote into the category for former-Vice President
·6· ·Biden; which made a 26-percent shift in the vote.
·7· · · · ·And so when you look at the machine-level,
·8· ·the machine for Dominion or the ES&S, there's so
·9· ·many vulnerabilities in the systems.· There's so
10· ·many fundamental cybersecurity practices that are
11· ·not enabled, that it basically allows anybody who
12· ·-- who has some technical ability and the -- the
13· ·want-to to go in and influence our elections.
14· · · · ·MIKE LINDELL:· Wow.· What --
15· · · · ·(Talking simultaneously.)
16· · · · ·COLONEL PHIL WALDRON:· And (inaudible)
17· ·strategic level is foreign intelligence, foreign
18· ·intelligence services.· And we've got -- pretty
19· ·much document -- documented of Chinese --
20· ·Communist Chinese party ownership of the private
21· ·equity firm, whose board controls Dominion.
22· · · · ·We've got Chinese communists, the -- the
23· ·President of the Chinese Communist bank who is
24· ·board of directors member of -- of a private
25· ·equity firm that -- that owns Dominion.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 18 of 140
                                                                       17

·1· · · · ·MIKE LINDELL:· Wow.
·2· · · · ·COLONEL PHIL WALDRON:· And then if you look
·3· ·at the testing company, the only company that
·4· ·has code- -- access to the code and the testing
·5· ·for Dominion is in Shenzhen, China.· It's a
·6· ·communist Chinese party company.
·7· · · · ·The U.S. government, the state governments,
·8· ·the county governments, they don't have access to
·9· ·Dominion code.· But I think's it's kind of -- kind
10· ·of unique that a Chinese company that's run by
11· ·the -- the CCP does have access to the code, and
12· ·that's why we started seeing at that strategic
13· ·level, that third tier, of election manipulation;
14· ·a lot of movements of votes, directly -- direct
15· ·access to Pennsylvania voting precincts, county
16· ·tabulation centers, Wisconsin, Michigan, Nevada,
17· ·Arizona, Georgia -- all of that coming in directly
18· ·from foreign countries, China being the
19· ·predominate one and through -- through Pakistani
20· ·ISI proxies.
21· · · · ·MIKE LINDELL:· Did you find it very
22· ·frustrating not being able to get -- get all this
23· ·information out to the public?
24· · · · ·COLONEL PHIL WALDRON:· Yeah, it -- it's
25· ·very frustrating.· The fact that, you know,


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 19 of 140
                                                                       18

·1· ·everyone says, well, there was all these court
·2· ·cases and all the court cases were lost.· Well,
·3· ·that's a lie, when we got statistics on how many
·4· ·court cases were open, how many were dismissed
·5· ·for -- you know, for standing or procedural, but
·6· ·there -- there's only, to my knowledge, two cases,
·7· ·one in Michigan and -- and one in Georgia, where
·8· ·evidence has been heard.· And those cases are
·9· ·progressing forward.
10· · · · ·The Senate in Arizona has heard and seen
11· ·preliminary evidence, and they've issued subpoena
12· ·and they're pressing forward with a full forensic
13· ·audit in Arizona.· And that -- that could be
14· ·forthcoming as early as, you know, this -- this
15· ·coming week.
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·COLONEL PHIL WALDRON:· So it's -- it is
18· ·complex and it's hard for people to understand.
19· ·And if it's hard to understand, people just
20· ·dismiss it as, you know --
21· · · · ·MIKE LINDELL:· Right.
22· · · · ·COLONEL PHIL WALDRON:· -- a conspiracy
23· ·theory --
24· · · · ·MIKE LINDELL:· Right.
25· · · · ·COLONEL PHIL WALDRON:· -- where it's --


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 20 of 140
                                                                       19

·1· ·it's cyber warfare and unconventional asymmetric
·2· ·warfare --
·3· · · · ·MIKE LINDELL:· Uh-huh.
·4· · · · ·COLONEL PHIL WALDRON:· -- conducted by a
·5· ·peer-threat nation state against the United States
·6· ·Government critical infrastructure.
·7· · · · ·MIKE LINDELL:· The whole country seeing
·8· ·when they -- you know, when they shut everything
·9· ·down at night, that that was a deviation; you
10· ·probably expected this, right?
11· · · · ·COLONEL PHIL WALDRON:· We were watching, we
12· ·found the -- the foreign servers in Barcelona and
13· ·the U.K., and -- and in Frankfurt.· We had seen
14· ·several -- you know, the one in Toronto,
15· ·obviously, with Dominion.
16· · · · ·MIKE LINDELL:· So you know 100 percent
17· ·proof that the servers are overseas in other
18· ·people's countries for our election?
19· · · · ·COLONEL PHIL WALDRON:· Yes.· We were
20· ·mapping out the servers before the elections.· We
21· ·identified the Scytl server in Frankfurt, down to
22· ·the street address.
23· · · · ·Frankfurt has -- I think it's -- it's
24· ·either the largest or one of the world's largest
25· ·server nodes -- you know, cyber node --


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 21 of 140
                                                                       20

·1· · · · ·MIKE LINDELL:· Right.
·2· · · · ·COLONEL PHIL WALDRON:· -- transfer- --
·3· ·communications node.· It's call D-E -- D-E for
·4· ·Germany -- Nix, DE Nix.· (Phonetic).
·5· · · · ·MIKE LINDELL:· Right.
·6· · · · ·COLONEL PHIL WALDRON:· And there was
·7· ·several folks watching the -- the traffic and the
·8· ·volume of traffic that night, and they noticed a
·9· ·significant spike in traffic that night, just due
10· ·to the -- you know, the volume of information
11· ·going through.
12· · · · ·And one of the reasons is they -- they said
13· ·that the -- the traffic was going up was due to
14· ·U.S. elections.
15· · · · ·MIKE LINDELL:· In your opinion, this is an
16· ·attack by other countries, of foreign -- of
17· ·foreign countries, is what you're saying then?
18· · · · ·COLONEL PHIL WALDRON:· I -- I believe from
19· ·what I have seen in -- the -- the witnesses that I
20· ·have talked to, that this is a -- a coup that --
21· ·it definitely involved elements inside our own
22· ·country, and inside our own federal government.
23· · · · ·MIKE LINDELL:· Wow.
24· · · · ·COLONEL PHIL WALDRON:· Definitely --
25· ·definitely part of the coup that was aided and


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 22 of 140
                                                                       21

·1· ·abetted by a foreign threat, nation-state, appear
·2· ·enemy nation-state.
·3· · · · ·MIKE LINDELL:· Right.
·4· · · · ·COLONEL PHIL WALDRON:· China.
·5· · · · ·MIKE LINDELL:· Do you believe that this
·6· ·attack from other countries could not have
·7· ·happened without people here domestic -- people
·8· ·domestic traitors, basically?
·9· · · · ·COLONEL PHIL WALDRON:· Yeah.· I -- I
10· ·believe that -- again, we have affidavits of CIA
11· ·and State Department personnel out of the Italian
12· ·Embassy participating in this coup.· We have a
13· ·name, e-mail and phone number of senior DOJ
14· ·official from a -- from a -- a U.S. attorney that
15· ·said that this individual was shutting down any
16· ·DOJ or FBI investigation into any election -- any
17· ·election-related investigation, and shut -- trying
18· ·to shut down judicial cases, court cases.
19· · · · ·So from inside our own DOJ, people were
20· ·shutting down active investigations.· You wonder
21· ·why, you know, Mr. Barr didn't find or see any
22· ·evidence of widespread election fraud, is because
23· ·the FBI never did anything, other than to impede
24· ·investigations into election fraud.
25· · · · ·The FBI went to question the truck drivers


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 23 of 140
                                                                       22

·1· ·who delivered ballots and -- and created
·2· ·affidavits; they were harassing, you know, the --
·3· ·the Americans -- you know, patriotic Americans who
·4· ·were -- who were whistleblowers --
·5· · · · ·MIKE LINDELL:· Right.
·6· · · · ·COLONEL PHIL WALDRON:· -- and prosecuting
·7· ·them.
·8· · · · ·Mike, you mentioned something earlier,
·9· ·is -- is the machines.· You know, the ES&S and
10· ·Dominion machines, if you look at, you know,
11· ·military planning factors, there are critical
12· ·capabilities -- a capability is what you have to
13· ·have to execute your mission or the enemy has to
14· ·have to execute its mission successfully.
15· · · · ·So critical capability for any of this to
16· ·happen are the inherent vulnerabilities that were
17· ·built into ES&S and Dominion software, which is --
18· ·you know, again, we've proven through -- through
19· ·our work that this is all related directly back to
20· ·the soft -- Smartmatic -- Smartmatic -- SGO
21· ·Smartmatic software core.
22· · · · ·MIKE LINDELL:· Wow.
23· · · · ·COLONEL PHIL WALDRON:· And they definitely
24· ·have financial gains to -- to -- financial
25· ·reasons, based on some of the other investments


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 24 of 140
                                                                       23

·1· ·that they've made.
·2· · · · ·MIKE LINDELL:· Right.
·3· · · · ·COLONEL PHIL WALDRON:· Especially if they
·4· ·-- you know, looking down the road, if they make
·5· ·billions and billions of dollars, the board of SGO
·6· ·Smartmatic, because they own a -- an air
·7· ·purification company -- so just think about it, if
·8· ·-- if you get to pick an administration that is
·9· ·favorable to -- to your company, say they pass a
10· ·green new deal and you're going to make billions
11· ·and billions of dollars off of government-mandated
12· ·air purification systems in public buildings and
13· ·apartment buildings, and industrial complexes, you
14· ·know, you -- you would spend quite a bit of money
15· ·on the front side --
16· · · · ·MIKE LINDELL:· Wow.
17· · · · ·COLONEL PHIL WALDRON:· -- to -- to make
18· ·sure the election was done.
19· · · · ·The same thing with China.
20· · · · ·MIKE LINDELL:· Right.
21· · · · ·COLONEL PHIL WALDRON:· If China could avoid
22· ·the U.S. coming to Taiwan's defense -- and we've
23· ·seen indications of that already, and if China
24· ·could avoid having to fight a -- a campaign to
25· ·protect their man-made islands to extend their


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 25 of 140
                                                                       24

·1· ·territorial waters into international navigatable
·2· ·waterways, if they could invest a billion dollars
·3· ·to do that versus fighting a war; well, they made
·4· ·a pretty good investment.
·5· · · · ·MIKE LINDELL:· Right.
·6· · · · ·COLONEL PHIL WALDRON:· And all the money
·7· ·that they've made into the Biden family, all of
·8· ·the money that they made into -- investigated into
·9· ·U.S. universities and U.S. businesses, buying up
10· ·our medical, our technical intellectual property,
11· ·steeling a lot more than they bought -- they are
12· ·-- they are fighting a war.· People just don't
13· ·realize that we're under attack.
14· · · · ·MIKE LINDELL:· So now we have with us
15· ·Russell Ramsland.· He's a founding member of
16· ·Allied Security Operational (sic) Group.· They're
17· ·based in Dallas, Texas.· And they do cyber
18· ·forensics and security.
19· · · · ·Russell, how are you -- how are you
20· ·involved with all this -- this election fraud with
21· ·these machines?
22· · · · ·RUSSELL RAMSLAND:· Well, it was
23· ·interesting, Mike.· It's been a long road for us.
24· ·About two years ago we had some logs from the
25· ·Dallas general election brought to us from the


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 26 of 140
                                                                       25

·1· ·central tabulation server, and people ask, what do
·2· ·these logs mean?
·3· · · · ·It was about 1100 pages.· And we got
·4· ·looking at them and we were horrified at what we
·5· ·found.· Because what we found was that people were
·6· ·getting into the system, and they were changing
·7· ·the votes.· They were erasing databases.· They
·8· ·were reloading them.· And it was coming from
·9· ·remote locations.
10· · · · ·MIKE LINDELL:· (Inaudible) --
11· · · · ·(Talking simultaneously.)
12· · · · ·RUSSELL RAMSLAND:· And the (inaudible) this
13· ·can't be.
14· · · · ·MIKE LINDELL:· Now, this was back -- this
15· ·is in 2018, when they -- so these guys came to
16· ·you, were these -- and these were -- these were
17· ·voting machines, were they Dominion machines?
18· · · · ·RUSSELL RAMSLAND:· No.· No.· No.· We use
19· ·ES&S in Dallas, not Dominion.
20· · · · ·MIKE LINDELL:· So are they -- are they --
21· ·are they similar -- similar machines?
22· · · · ·RUSSELL RAMSLAND:· Yes.· Yeah, it's -- it's
23· ·very similar stuff.· Most of these voting
24· ·companies all have similar DNA --
25· · · · ·MIKE LINDELL:· Okay.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 27 of 140
                                                                       26

·1· · · · ·RUSSELL RAMSLAND:· -- in their (inaudible.)
·2· · · · ·MIKE LINDELL:· Okay.· But what you've seen
·3· ·was -- was very -- it horrified you?
·4· · · · ·RUSSELL RAMSLAND:· Yeah, it did.
·5· · · · ·MIKE LINDELL:· Okay.
·6· · · · ·RUSSELL RAMSLAND:· Because clearly somebody
·7· ·was playing with the election.
·8· · · · ·MIKE LINDELL:· Wow.
·9· · · · ·RUSSELL RAMSLAND:· So we tried to get the
10· ·authorities alerted, we brought in a DOJ
11· ·prosecutor that ran the cyber group in North
12· ·Texas, and she was horrified at what we showed
13· ·her.
14· · · · ·And she asked us to put it together, and
15· ·eventually submit it to the FBI; and we did that,
16· ·and they did nothing.
17· · · · ·So we continued to investigate.· And the
18· ·more we found, the more horrifying it got.
19· · · · ·Now, this all was still coming out of
20· ·Dallas.· We tried to get Senators to look at this,
21· ·and we tried to get state officials to look at
22· ·this, but we continued to work on it on our own.
23· ·We had no client at all.
24· · · · ·And eventually we did get seven members of
25· ·the Freedom Caucus last July to take a two-hour


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 28 of 140
                                                                       27

·1· ·briefing, without staff.· And what they saw was
·2· ·absolute proof that this electronic voting system
·3· ·that we had is completely compromised.
·4· · · · ·MIKE LINDELL:· Wow.
·5· · · · ·RUSSELL RAMSLAND:· It can be completely
·6· ·manipulated.· And they horrified.
·7· · · · ·MIKE LINDELL:· We've all heard that Texas
·8· ·denied these machines.
·9· · · · ·RUSSELL RAMSLAND:· Well, Texas denied
10· ·Dominion, but Texas uses other voting machines.
11· ·We use Hart and we use ES&S in Texas --
12· · · · ·MIKE LINDELL:· Right.
13· · · · ·RUSSELL RAMSLAND:· -- claim -- claim
14· ·(inaudible) --
15· · · · ·(Talking simultaneously.)
16· · · · ·MIKE LINDELL:· So why -- so why would
17· ·Texas -- they denied these Dominion ones, and in
18· ·your opinion -- so -- so they must have looked at
19· ·them and said, there's something there we don't
20· ·like; but then they -- over here with Smartmatic
21· ·and these other ones, they were okay with that,
22· ·what -- what would be your opinion of why -- why
23· ·one -- they would deny one machine and -- that --
24· ·because they're afraid of election fraud, and --
25· ·and over here, they accepted that one?


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 29 of 140
                                                                       28

·1· · · · ·RUSSELL RAMSLAND:· I think that it
·2· ·sometimes has more to do with politics and
·3· ·influence who gets through and who doesn't --
·4· · · · ·MIKE LINDELL:· Okay.· Okay.
·5· · · · ·(Talking simultaneously.)
·6· · · · ·RUSSELL RAMSLAND:· -- (inaudible) the
·7· ·machines.
·8· · · · ·MIKE LINDELL:· Okay.
·9· · · · ·RUSSELL RAMSLAND:· So we finally ended up
10· ·with some investigators, with Ron Johnson's
11· ·Department of Homeland Security Oversight Group,
12· ·and they were horrified of what we showed them.
13· ·And they tried to get CISA, which is the Cyber
14· ·Intelligence Security Administration inside the
15· ·DHS, they tried to get CISA to take a look.· CISA
16· ·would not take the briefing.· They couldn't be
17· ·less interested.
18· · · · ·So we didn't quiet know what to do.· We
19· ·were beginning to find some media people who
20· ·wanted to start talking about this, and they
21· ·became appalled.· But the break really came in
22· ·early August, when we got some DHS people in
23· ·Austin, with the I&A Division, the Intelligence
24· ·and Analysis Division down there, to take a look
25· ·at what we had.· And that's the division that used


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 30 of 140
                                                                       29

·1· ·to have voter integrity before it was handed to
·2· ·CISA.
·3· · · · ·So they looked at it and they were
·4· ·horrified.· And they sent a whole team to our
·5· ·shop.· We spent 11 hours with them.· They asked us
·6· ·if we could give them their -- our data.· We said
·7· ·of course.
·8· · · · ·And so we gave them all our data, they took
·9· ·it back to Austin.· And unknown to us, they gave
10· ·it to three private cyber groups that they used
11· ·and said:· Hey, are these guys crazy?· I mean, is
12· ·this nuts or is this -- is there something here?
13· ·Well, all three groups looked at it and all three
14· ·groups came back, not only is it -- is it right,
15· ·it's horrifying.
16· · · · ·MIKE LINDELL:· Okay.· I want to ask you
17· ·that, when you say horrified, can you explain to
18· ·everybody watching this right now, what -- what
19· ·horrified you; was it the fact they could go
20· ·online --
21· · · · ·RUSSELL RAMSLAND:· Well, there's no
22· ·effective security at all for your votes.· Your
23· ·votes are stored overseas, where they can be
24· ·easily --
25· · · · ·MIKE LINDELL:· Wait a minute.· Wait a


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 31 of 140
                                                                       30

·1· ·minute.· They're stored overseas?
·2· · · · ·RUSSELL RAMSLAND:· Yes.· Yeah.· Yeah.
·3· · · · ·MIKE LINDELL:· Wow.
·4· · · · ·RUSSELL RAMSLAND:· 20- -- 27 states use
·5· ·what's called Clarity Scytl, (phonetic) election
·6· ·night reporting, and those servers are overseas.
·7· ·They have what are called S3 bucket
·8· ·vulnerabilities and people can get in and change
·9· ·the votes there.· And then they can load them all
10· ·the way back down to county level here in this
11· ·country, because Scytl gets all the credentials
12· ·from every single county server here; and so they
13· ·can get into every single county server and change
14· ·the votes here from overseas.· It's crazy.
15· · · · ·MIKE LINDELL:· Wow.· So -- so -- so
16· ·everything that -- everybody's been talking about
17· ·out there, that they tried to suppress saying that
18· ·they -- we -- we heard the machines weren't even
19· ·online, and you're saying that 27 states used
20· ·this, and the servers are overseas; so these can
21· ·go over there, and they can change the vote to
22· ·anything they want, and send it back cyberly -- by
23· ·cyber --
24· · · · ·RUSSELL RAMSLAND:· Correct.
25· · · · ·MIKE LINDELL:· Wow.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 32 of 140
                                                                       31

·1· · · · ·RUSSELL RAMSLAND:· So they became -- the
·2· ·DHS people in Austin realized what we were telling
·3· ·them was correct, they became horrified.· And they
·4· ·began to try to have a series of classified
·5· ·briefings within their own group in order to push
·6· ·this up -- up the chain.
·7· · · · ·And they got about one or two levels up,
·8· ·and then they met a solid wall of resistance that
·9· ·basically said, leave it alone, don't pursue it.
10· · · · ·MIKE LINDELL:· Wow.· And what are you --
11· ·what do you think being now -- now we're -- we're
12· ·here telling the facts on the show here, but in
13· ·your mind, why would they do that?
14· · · · ·What -- this is just subjectively, why
15· ·would -- why would you -- why would they do that,
16· ·in your mind?
17· · · · ·RUSSELL RAMSLAND:· I don't know, Mike.
18· · · · ·MIKE LINDELL:· You can't explain it.              I
19· ·mean, this is -- okay.
20· · · · ·So -- so then -- so take us from there.· So
21· ·this is like what -- what -- approximately, when
22· ·was that when they cut -- when it got stopped?
23· · · · ·RUSSELL RAMSLAND:· That was September.
24· · · · ·MIKE LINDELL:· Wow.
25· · · · ·RUSSELL RAMSLAND:· Yeah.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 33 of 140
                                                                       32

·1· · · · ·MIKE LINDELL:· Close to the election.
·2· ·Okay.
·3· · · · ·RUSSELL RAMSLAND:· Close to the election.
·4· ·So -- what actually happened in this election,
·5· ·this stolen election, we already knew was going to
·6· ·happen.· We already had seen it.· We knew it was
·7· ·all possible.· We knew it was all out there.
·8· · · · ·Now, we didn't know how many foreign
·9· ·servers; you know, before we weren't seeing very
10· ·many foreign servers come in and change votes.
11· ·But in this election, of course, we saw thousands
12· ·from all over the world.
13· · · · ·MIKE LINDELL:· Had you seen -- you seen
14· ·thousands -- right, you had seen all these --
15· ·these hacks; have you actually seen that with your
16· ·own eyes?
17· · · · ·RUSSELL RAMSLAND:· We have seen the data --
18· · · · ·MIKE LINDELL:· You see --
19· · · · ·RUSSELL RAMSLAND:· -- that is --
20· · · · ·MIKE LINDELL:· All right.
21· · · · ·(Talking simultaneously.)
22· · · · ·TERRY TURCHIE:· -- (inaudible)
23· ·representative of that.
24· · · · ·MIKE LINDELL:· So this -- the election goes
25· ·down, you knew it was going to happen; is it


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 34 of 140
                                                                       33

·1· ·exactly what you thought was going to happen?
·2· · · · ·RUSSELL RAMSLAND:· Yeah.· We -- we thought
·3· ·it was going to happen on three levels.· We
·4· ·thought there would be massive local cheating.· We
·5· ·thought there would be cheating through the actual
·6· ·voting companies themselves, whether it's them or
·7· ·someone else manipulating them.
·8· · · · ·And we thought that there would be cheating
·9· ·from votes being injected from overseas.· And
10· ·that's exactly what we saw happen.
11· · · · ·MIKE LINDELL:· Wow.
12· · · · ·RUSSELL RAMSLAND:· And we developed huge,
13· ·tons of -- of absolute proof on this, but no court
14· ·case was ever allowed -- ever allowed it to be
15· ·presented.
16· · · · ·So that sort of gave fodder to this media
17· ·myth that it didn't exist.· But it does exist.
18· ·It's out there.· It's unbelievable.· It's massive.
19· · · · ·MIKE LINDELL:· Wow.· Did everybody hear
20· ·that, what he -- what Russell is saying here, this
21· ·is what everyone says, well, there was no
22· ·evidence; so you're saying no judges would look at
23· ·the evidence, is that correct?
24· · · · ·RUSSELL RAMSLAND:· That's correct.
25· · · · ·MIKE LINDELL:· Okay.· And now we don't know


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 35 of 140
                                                                       34

·1· ·why, we don't know why -- I mean, they -- it
·2· ·wasn't because there wasn't evidence.· They didn't
·3· ·even want to look at it.· Is that correct?
·4· · · · ·RUSSELL RAMSLAND:· That is correct.
·5· · · · ·MIKE LINDELL:· Okay.· Now, we've heard
·6· ·about -- we alter- -- in fact, on this show, the
·7· ·-- Antrim County in Michigan, were you guys
·8· ·ever -- were you guys -- weren't you guys
·9· ·contacted to look into that?
10· · · · ·RUSSELL RAMSLAND:· That was our work, yes.
11· · · · ·MIKE LINDELL:· Oh, wow.
12· · · · ·RUSSELL RAMSLAND:· Yes.· I --
13· · · · ·MIKE LINDELL:· Okay.
14· · · · ·RUSSELL RAMSLAND:· I -- I actually signed
15· ·the -- the forensic audit report.· And -- because
16· ·our guys did all that, our -- part of our team.
17· ·And that came about, because there was a
18· ·down-ballot race, and the Judge allowed some
19· ·limited discovery, what came out of that was
20· ·appalling enough that he allowed further
21· ·discovery; and then, of course, that report went
22· ·national, because what we found was so horrifying.
23· · · · ·MIKE LINDELL:· Right.· For everybody out
24· ·there, what -- we've heard all this, Antrim County
25· ·in Michigan, and in the show here we -- you know,


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 36 of 140
                                                                       35

·1· ·you've -- you've seen it, we've had -- we've --
·2· ·this is a -- this is -- the reason was talked
·3· ·about so much, because this is a small county and
·4· ·it was like 15,000-some people voted and it was
·5· ·7,000-some votes flipped.
·6· · · · ·I mean -- so it was so obvious -- you know,
·7· ·we had 65 percent Republican and 35 percent
·8· ·Democrat, normally, and it was completely flipped;
·9· ·so everybody in the town knew it was a deviation
10· ·that didn't make sense.
11· · · · ·And so -- so Russell, this case is still
12· ·open, is that -- that's correct, right?
13· · · · ·RUSSELL RAMSLAND:· That is -- that is
14· ·correct.
15· · · · ·MIKE LINDELL:· Okay.· Can I --
16· · · · ·(Talking simultaneously.)
17· · · · ·RUSSELL RAMSLAND:· (Inaudible).
18· · · · ·MIKE LINDELL:· Can I ask you this?· So what
19· ·you seen there is exactly what you knew was going
20· ·to happen, and now were you able to look at other
21· ·places, what was different about Antrim County,
22· ·now that -- what we all heard was you were able to
23· ·get into the -- you know, the forensics of it and
24· ·see all this, were you able -- have you been able
25· ·to do that in any other places in the United


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 37 of 140
                                                                       36

·1· ·States, since then or -- or, you know, since this
·2· ·election ended on -- in November.
·3· · · · ·RUSSELL RAMSLAND:· Actually, on -- on a
·4· ·limited basis we had been able to go into two
·5· ·other counties, we have not published that
·6· ·information yet.
·7· · · · ·And there are reasons why we aren't
·8· ·publishing that information right now; but both of
·9· ·them have not only confirmed, they have confirmed
10· ·that it's even worse than in Antrim.
11· · · · ·MIKE LINDELL:· Okay.· Did everybody hear
12· ·that?
13· · · · ·What we have here -- and -- and Russell
14· ·can't disclose this, because what -- every time
15· ·something pops up, it gets buried out there.
16· ·Things happen.
17· · · · ·I don't -- you know, it -- this is -- this
18· ·is the most -- attack on our country, and I'm
19· ·telling you, ever.· I mean, this is -- and that's
20· ·why -- you know, it's getting suppressed every --
21· ·everywhere.
22· · · · ·So what he's saying, two other places --
23· ·now, is this breaking news right now?· You're
24· ·saying right now you have two other places, and
25· ·what you're seeing is even worse than you could


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 38 of 140
                                                                       37

·1· ·ever imagine?
·2· · · · ·RUSSELL RAMSLAND:· Well, it's -- it's --
·3· ·it's just like Antrim, only it's worse in many
·4· ·ways.
·5· · · · ·You know, in Antrim, what people need to
·6· ·understand -- real simple, Mike, when people vote
·7· ·and they scan their ballot in, it either goes into
·8· ·the regular sort of bucket and gets voted, or else
·9· ·it goes into what's called an adjudication bucket.
10· · · · ·If it goes into the adjudication bucket,
11· ·then whoever is running the voting system gets to
12· ·vote that vote however they want.
13· · · · ·Well, in -- in Antrim we found ballot
14· ·rejection rates of 82 percent.· 82 percent.
15· · · · ·MIKE LINDELL:· Wow.· Wow.
16· · · · ·RUSSELL RAMSLAND:· 82 percent of the
17· ·ballots were going to adjudication --
18· · · · ·(Talking simultaneously.)
19· · · · ·MIKE LINDELL:· And what -- what is the --
20· ·what is the -- what's the normal number -- I mean,
21· ·is there a normal number for a- -- for an election
22· ·that would be -- what percentage or -- and on --
23· ·and what would be it on the high-end?
24· · · · ·RUSSELL RAMSLAND:· Well, certainly less
25· ·than one percent would be -- should ever go to


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 39 of 140
                                                                       38

·1· ·adjudication.
·2· · · · ·MIKE LINDELL:· Wow.
·3· · · · ·(Talking simultaneously.)
·4· · · · ·RUSSELL RAMSLAND:· There's --
·5· · · · ·MIKE LINDELL:· Less than one percent,
·6· ·everybody; and this was 85 percent.· That's
·7· ·(inaudible) --
·8· · · · ·RUSSELL RAMSLAND:· Yes.· Well, one in
·9· ·Fulton County, they -- the Fulton County people
10· ·themselves admitted to a 93.6 percent adjudication
11· ·rate in some cases.
12· · · · ·That means the entire election was decided
13· ·by the people that ran the system, not by the
14· ·voters.
15· · · · ·MIKE LINDELL:· And now -- what you're
16· ·talking about there, is it -- this is one of the
17· ·way these machines cannot -- you can -- that you
18· ·can cheat through the -- or cheat there, but this
19· ·does not count what you're talking about earlier,
20· ·the cyber forensics where the -- that goes
21· ·overseas to these servers that are all based over
22· ·there, correct?
23· · · · ·RUSSELL RAMSLAND:· That does not -- that's
24· ·a different issue altogether.
25· · · · ·MIKE LINDELL:· Right.· So both of them


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 40 of 140
                                                                       39

·1· ·involve the machines, everybody.· One we've talked
·2· ·about in this show is here.· But the cyber one is
·3· ·-- you just heard from Russell, which he said
·4· ·earlier, this is all the attack by the other
·5· ·countries that hacked in, which we're going to
·6· ·show you that proof now, that Russell doesn't even
·7· ·know, that we have that's going to show who did
·8· ·it, the time they did it, the computer they did it
·9· ·off of, everything.
10· · · · ·If we would have never found out -- or this
11· ·would have never gotten what we're going to get to
12· ·now, what in the -- what would the future look
13· ·like in -- in elections?
14· · · · ·RUSSELL RAMSLAND:· Well, I mean, we're
15· ·basically approaching Venezuela where it doesn't
16· ·matter who --
17· · · · ·MIKE LINDELL:· It doesn't matter.· Right.
18· ·Somebody else picks our people for them, so why
19· ·vote, right?
20· · · · ·I mean, that's the way -- that's the way it
21· ·would have been.· Machines that go online, like at
22· ·(inaudible) -- now, if I -- you said earlier, it's
23· ·not just Dominion, it's all the -- all the
24· ·machines that were used in this election, would -
25· ·is that what you would say?


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 41 of 140
                                                                       40

·1· · · · ·RUSSELL RAMSLAND:· Yes.· That's absolutely
·2· ·a fair statement.· And let me -- let me tell you a
·3· ·little bit about that.· You know, for these people
·4· ·that say it's not online, we have videos of
·5· ·workers with poll books who are swiping left on
·6· ·their poll book, and bringing up Netflix, and
·7· ·getting a movie and watching it on their poll
·8· ·book.
·9· · · · ·How does that happen if it's not connected
10· ·to the Internet?
11· · · · ·MIKE LINDELL:· Right.· Right.
12· · · · ·RUSSELL RAMSLAND:· We have affidavits of --
13· ·of a -- an election judge who showed up at -- at
14· ·her precinct, found through her horror they had
15· ·loaded the wrong precinct in her equipment, called
16· ·her voting company, and her voting company put her
17· ·on hold and the self- -- the help desk from
18· ·another state called in, and in ten minutes
19· ·somehow reloaded her poll books from another state
20· ·with the correct precinct.
21· · · · ·How did that happen if it's not connected
22· ·to the Internet?
23· · · · ·MIKE LINDELL:· I know they were all online,
24· ·but they -- but is it illegal for them to be
25· ·online?


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 42 of 140
                                                                       41

·1· · · · ·RUSSELL RAMSLAND:· Well, it depends.· Some
·2· ·places, yes; some places, no.· I mean --
·3· · · · ·MIKE LINDELL:· Okay.
·4· · · · ·RUSSELL RAMSLAND:· -- the assurance is that
·5· ·you can trust the voting system, because they're
·6· ·not online; but they are most clearly online.
·7· · · · ·MIKE LINDELL:· I got you.· I got you.
·8· · · · ·RUSSELL RAMSLAND:· Now, here's one you
·9· ·don't know, we ran this -- a different group here,
10· ·a little operation in Dallas during this last
11· ·election -- and let me describe the operations so
12· ·you'll understand the magnitude of what I'm
13· ·telling you.· What we did is, every day we just
14· ·took the information on the voter records of the
15· ·people who voted that day in Dallas.· Dallas posts
16· ·them online.
17· · · · ·So you get a big, big long record of this
18· ·voter.· You don't see how he voted, but you see
19· ·everything else, name, where he lives, when he
20· ·asked for a ballot, where he voted, his residence
21· ·address -- on and on and on.
22· · · · ·And all of those, as you know, are
23· ·comprised of zeros and ones.· That's how computers
24· ·work.
25· · · · ·So all we did is, we would add up all the


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 43 of 140
                                                                       42

·1· ·zeros and ones in that voter record, and store it.
·2· ·And then we would watch what would happen to that
·3· ·voter record as we worked our way through early
·4· ·voting.
·5· · · · ·Mike, we saw 57,000 votes get their voter
·6· ·records changed during early election alone in
·7· ·Dallas, Texas.
·8· · · · ·MIKE LINDELL:· Wow.
·9· · · · ·RUSSELL RAMSLAND:· We saw a ten-block long
10· ·street in Dallas, Texas, get every single vote
11· ·wiped out, and then subsequently replaced one at a
12· ·time with clearly something changed, because
13· ·the -- the hash -- in other words, it's -- it's
14· ·record of -- of the zeros and ones, had been
15· ·changed.· And so we know it was tampered with.
16· · · · ·MIKE LINDELL:· Wow.
17· · · · ·(Talking simultaneously.)
18· · · · ·RUSSELL RAMSLAND:· It's unbelievable.
19· · · · ·MIKE LINDELL:· Was it nationwide that this
20· ·happened?
21· · · · ·RUSSELL RAMSLAND:· Yes.
22· · · · ·MIKE LINDELL:· Okay.· And you've seen this
23· ·cyber -- the -- the cyber forensics that showed
24· ·that.· We will show that, too.
25· · · · ·But I just want to ask you, why -- if


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 44 of 140
                                                                       43

·1· ·you -- if there's -- you know, why did they -- why
·2· ·did they shut these machines down to win Texas,
·3· ·too?
·4· · · · ·I mean, do you -- you know, what would be
·5· ·your opinion on that, why they didn't set them
·6· ·high enough to win Texas, too?
·7· · · · ·RUSSELL RAMSLAND:· Well, there had been a
·8· ·certain amount of concern raised in -- in Texas,
·9· ·as a result of our 2018 work.· You know, Pete
10· ·Sessions actually filed a complaint in Texas and
11· ·published a paper on it, because his race got
12· ·stolen.
13· · · · ·And so they were very well aware that Texas
14· ·was going to come under some scrutiny, that other
15· ·places probably were not.
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·RUSSELL RAMSLAND:· And there was also a
18· ·huge operation down in Houston, where a vote
19· ·scamming scheme for over 700,000 votes was
20· ·exposed, and -- so there was a lot going on in
21· ·Texas.· And I think it made them a little skittish
22· ·to operate as brazenly here as they
23· ·did (inaudible) --
24· · · · ·MIKE LINDELL:· So they might --
25· · · · ·(Talking simultaneously.)


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 45 of 140
                                                                       44

·1· · · · ·MIKE LINDELL:· -- they might have backed
·2· ·off a little, but you just said something there.
·3· ·So you're telling me that they controlled all the
·4· ·down-tickets, too, if they decided they -- they
·5· ·wanted to flip a Senator or -- or a Congressman or
·6· ·whatever; is that correct?
·7· · · · ·RUSSELL RAMSLAND:· No doubt.· Absolutely.
·8· · · · ·MIKE LINDELL:· So Russell, could you speak
·9· ·specifically to the malware?
10· · · · ·RUSSELL RAMSLAND:· Sure.· There's a company
11· ·out of Barcelona, Spain called Scytl, and it owns
12· ·a company called Clarity Election Night Reporting.
13· ·And Hart reports to them and Dominion reports to
14· ·them, and ES&S reports to them; all these
15· ·companies report the votes to them.· And then
16· ·Election Night Reporting, supposedly, just passes
17· ·the votes along to the media.
18· · · · ·But using standard white hat tools, we can
19· ·look and see what is -- is on their server over in
20· ·Frankfurt, Germany.· And there is a -- an area on
21· ·their server, on a particular kind of equipment,
22· ·there is a piece of malware called QSnatch.
23· ·QSnatch actually watches all the information that
24· ·comes in and it grabs the login credentials of
25· ·every single county in the country that reports to


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 46 of 140
                                                                       45

·1· ·it, so that once it has all those credentials, it
·2· ·can then look back into that county and it can
·3· ·access the county database from overseas, or
·4· ·whatever else it wants to, if you want to inject
·5· ·changed votes, either through the adjudication
·6· ·system or the just plain flat replace the
·7· ·database.
·8· · · · ·So it's -- it's -- it's a massive, massive,
·9· ·massive security vulnerability, and it is there.
10· ·It is working.· And they have all the login
11· ·ability they need to get into any county that
12· ·reports this them.
13· · · · ·MIKE LINDELL:· Wow.· So -- so, basically,
14· ·what you said earlier, all the -- all the servers
15· ·are over there, the -- they can take all of our
16· ·countries in the country, look at them, and then
17· ·decide what they want to do with that information
18· ·and what they can do in the county, what they need
19· ·to flip; so in -- you know, we all heard this
20· ·is -- we all heard about this Italy thing and --
21· ·that it went to Italy and Germany when they had to
22· ·on the -- I guess this would be the middle of the
23· ·night on -- on November 4th; is this something --
24· ·would you know anything about that?
25· · · · ·I mean, to -- I mean, so they -- what we've


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 47 of 140
                                                                       46

·1· ·all heard out there, is it went over there -- some
·2· ·guy even admitted he did it, which we're going to
·3· ·have his affidavits up here, but what do you --
·4· ·what's your opinion on that?
·5· · · · ·RUSSELL RAMSLAND:· Well, our opinion on
·6· ·that was that it should have been investigated,
·7· ·because it is very consistent with what we do see
·8· ·happening.
·9· · · · ·But it was not investigated.· Apparently,
10· ·the Department of Justice did not investigate.
11· ·You know, you got the usual, oh, it's been
12· ·debunked.· Well, who debunked it?· Uh -- when did
13· ·they debunk it?· How did they debunk it?· Uh --
14· · · · ·MIKE LINDELL:· Yeah.
15· · · · ·RUSSELL RAMSLAND:· There was no
16· ·investigation by anyone of that information, and
17· ·there should have been because it is entirely
18· ·consistent.
19· · · · ·I don't know if it's true, but it's
20· ·entirely consistent with everything we have seen
21· ·in -- in terms of capabilities.
22· · · · ·MIKE LINDELL:· Bill Barr comes out and
23· ·said, there's no evidence.· I mean, what would be
24· ·your opinion, why people would keep pushing this
25· ·down and not wanting to know?


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 48 of 140
                                                                       47

·1· · · · ·I don't care what side of political lines
·2· ·you're on, why would you not want to know if
·3· ·the -- the truth?
·4· · · · ·RUSSELL RAMSLAND:· That has been a constant
·5· ·haunting question to everyone on our team.              I
·6· ·think it's a combination of things.· I think some
·7· ·people are truly completely totally corrupt.                I
·8· ·suspect that at the bottom of this you might find
·9· ·that our government has been changing votes in
10· ·other countries for years, and they don't really
11· ·want it resealed.· Certain parts of our
12· ·government.
13· · · · ·I think that there are people that don't
14· ·want to look.· They're afraid to look.· I think
15· ·there are probably people who are compromised.
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·RUSSELL RAMSLAND:· And (inaudible) to stay
18· ·out of it.
19· · · · ·MIKE LINDELL:· Right.
20· · · · ·RUSSELL RAMSLAND:· I think it's -- it's a
21· ·variety.· It's not one simple little
22· ·(inaudible) --
23· · · · ·(Talking simultaneously.)
24· · · · ·MIKE LINDELL:· Right.· And that's what I
25· ·wanted people to hear, because I hear it all the


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 49 of 140
                                                                       48

·1· ·time, people are going, you know what, this -- you
·2· ·know, Bill Barr said this, and he -- there's no --
·3· ·none of the Judges accepted it, and you hear all
·4· ·this.· And we can't explain all that, because it's
·5· ·-- probably multiple things, like Russell says
·6· ·here, and that's my opinion, too; it can be
·7· ·anywhere up to a dozen things.· Who knows.
·8· · · · ·But it doesn't matter.· All that doesn't
·9· ·matter, because now the truth is told today and
10· ·it's all coming out.· And -- and everybody -- you
11· ·know, I really believe what's going to happen once
12· ·everybody sees now -- this, is finally you're
13· ·going to have people that aren't afraid to speak
14· ·out because it will be -- it's too late to close
15· ·the gate, the cows are out of the barn, everybody
16· ·is going to know about it, and they're going to
17· ·want to know more and more.· So --
18· · · · ·RUSSELL RAMSLAND:· You know, Mike, the --
19· ·the real thing is, I think pretty soon the
20· ·question is going to start to turn around and
21· ·people are going to go, wait a minute, what is
22· ·everyone so afraid of?
23· · · · ·MIKE LINDELL:· Right.
24· · · · ·RUSSELL RAMSLAND:· Why are they going to
25· ·such incredible lengths to say there's nothing


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 50 of 140
                                                                       49

·1· ·here when there clearly is something here.
·2· · · · ·MIKE LINDELL:· Right.
·3· · · · ·RUSSELL RAMSLAND:· Yeah, this is almost
·4· ·like -- you and I remember Enron.· This is almost
·5· ·like Enron.· Would we all be saying, oh, no, we
·6· ·don't want to investigate Enron; no one should
·7· ·look into Enron.· No.· No.· Enron shouldn't have
·8· ·tell you how they spend your money; you just
·9· ·keeping them your 401k money.
10· · · · ·MIKE LINDELL:· Right.
11· · · · ·RUSSELL RAMSLAND:· No, that's not how it
12· ·works.
13· · · · ·MIKE LINDELL:· Right.
14· · · · ·RUSSELL RAMSLAND:· And that's not how our
15· ·voting system should work either.
16· · · · ·MIKE LINDELL:· So now we have with us
17· ·Dr. Shiva.· He has four MIT degrees.· He's an
18· ·expert in system science and pattern analysis.
19· ·And I met him four weeks ago.· A (inaudible)
20· ·going, well, Mike, why didn't you bring this to us
21· ·before?· Well, I just met Dr. Shiva four weeks
22· ·ago, and he's going to tell you, he actually ran
23· ·for Senate, and he knows all about these machines
24· ·now.
25· · · · ·And it -- and we're going to hear some of


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 51 of 140
                                                                       50

·1· ·the stuff that I found out and went, wow, this is
·2· ·a -- absolutely validates this election fraud with
·3· ·these machines.
·4· · · · ·So go ahead.
·5· · · · ·DR. SHIVA AYYADURAI:· Yeah.· Thanks, Mike.
·6· ·I'm glad we connected.
·7· · · · ·MIKE LINDELL:· Yeah.
·8· · · · ·DR. SHIVA AYYADURAI:· You know, it's an
·9· ·interesting opportunity for me, Mike, because it's
10· ·rare that a guy who is a scientist and engineer,
11· ·an MIT guy, even runs for office.
12· · · · ·MIKE LINDELL:· Right.
13· · · · ·DR. SHIVA AYYADURAI:· And then it's even
14· ·more rare that you come across something you never
15· ·think occurs in the United States -- you know, I
16· ·grew up in India --
17· · · · ·(Talking simultaneously.)
18· · · · ·MIKE LINDELL:· Yeah.
19· · · · ·DR. SHIVA AYYADURAI:· -- in third-world
20· ·countries we talk about election fraud, when I was
21· ·running in Massachusetts in 2020, we had 3,000
22· ·volunteers on the ground; you know, 20,000 bumper
23· ·stickers, 10,000 lawn signs, billboard ads, radio,
24· ·TV, network.· We were everywhere.
25· · · · ·The GOP establishment, who doesn't want to


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 52 of 140
                                                                       51

·1· ·a bottom (inaudible) -- up guy like me, who hated
·2· ·Trump, ran a no-name out there --
·3· · · · ·MIKE LINDELL:· Uh-huh.
·4· · · · ·DR. SHIVA AYYADURAI:· -- who no real lawn
·5· ·signs, no bumper stickers --
·6· · · · ·MIKE LINDELL:· Uh-huh.· Right.
·7· · · · ·DR. SHIVA AYYADURAI:· -- no organization,
·8· ·nothing.
·9· · · · ·MIKE LINDELL:· Right.
10· · · · ·DR. SHIVA AYYADURAI:· And we knew on
11· ·election night, which was a Republican primary,
12· ·September 1st, 2020, the word landslide is what we
13· ·heard everywhere.· We knew that --
14· · · · ·MIKE LINDELL:· That you were going to win
15· ·by a landslide?
16· · · · ·DR. SHIVA AYYADURAI:· Oh, yeah.· Yeah.               I
17· ·mean, it was obvious.· I mean, we worked -- and --
18· ·and --
19· · · · ·MIKE LINDELL:· I think you said unless
20· ·there was election fraud --
21· · · · ·DR. SHIVA AYYADURAI:· Yeah.
22· · · · ·MIKE LINDELL:· -- but you probably
23· ·thought --
24· · · · ·(Talking simultaneously.)
25· · · · ·TERRY TURCHIE:· But I -- I -- I --


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 53 of 140
                                                                       52

·1· · · · ·MIKE LINDELL:· -- just -- maybe (inaudible)
·2· ·concern?
·3· · · · ·(Talking simultaneously.)
·4· · · · ·TERRY TURCHIE:· Yeah.· I mean, one of my
·5· ·close friends said, Shiva, we're going to win this
·6· ·unless there's --
·7· · · · ·MIKE LINDELL:· Right.
·8· · · · ·DR. SHIVA AYYADURAI:· -- election fraud.
·9· ·And I just thought this is just --
10· · · · ·MIKE LINDELL:· Yeah.
11· · · · ·DR. SHIVA AYYADURAI:· -- some fringe stuff.
12· ·Right?
13· · · · ·(Talking simultaneously.)
14· · · · ·MIKE LINDELL:· But you weren't --
15· · · · ·DR. SHIVA AYYADURAI:· So I (inaudible) --
16· · · · ·MIKE LINDELL:· -- thinking about machines?
17· · · · ·DR. SHIVA AYYADURAI:· I wasn't thinking --
18· · · · ·MIKE LINDELL:· Okay.· All right.
19· · · · ·DR. SHIVA AYYADURAI:· -- about machines,
20· ·because I didn't know that.· You know --
21· · · · ·MIKE LINDELL:· Right.
22· · · · ·DR. SHIVA AYYADURAI:· -- from creating
23· ·e-mails and all these systems, I know the power of
24· ·the machines --
25· · · · ·MIKE LINDELL:· Oh, by the way -- yeah, he


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 54 of 140
                                                                       53

·1· ·created e-mails, right?
·2· · · · ·DR. SHIVA AYYADURAI:· I did.· I created
·3· ·e-mails --
·4· · · · ·MIKE LINDELL:· (Inaudible) --
·5· · · · ·(Talking simultaneously.)
·6· · · · ·MIKE LINDELL:· (Inaudible) of e-mails --
·7· · · · ·DR. SHIVA AYYADURAI:· I just want to tell
·8· ·you, the guy's a genius.· So what you're going to
·9· ·hear here -- this is what I did my due diligence
10· ·on, I -- you know, this is just one guy, I'm
11· ·going, okay, you know, is this real or is this
12· ·not, and it -- believe me, it's real.
13· · · · ·DR. SHIVA AYYADURAI:· Yeah.· I mean -- so I
14· ·have a lot of history, not only in pattern
15· ·analysis system science --
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·DR. SHIVA AYYADURAI:· -- but I build
18· ·large-scaled computer systems, the stuff I've used
19· ·has been used by the Senate, it has been used by
20· ·the largest fortune --
21· · · · ·MIKE LINDELL:· Right.
22· · · · ·DR. SHIVA AYYADURAI:· -- 1,000 companies in
23· ·the world; so I know how you move from paper-based
24· ·systems and electronic systems, and I know the
25· ·power of electronic systems.· When you put some


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 55 of 140
                                                                       54

·1· ·process that's in electronic form --
·2· · · · ·MIKE LINDELL:· Right.
·3· · · · ·DR. SHIVA AYYADURAI:· -- a single
·4· ·individual has immense amounts of power.· So
·5· ·that's a background.
·6· · · · ·But on September 1st, 2020, what we saw
·7· ·was, we knew we won on a landslide --
·8· · · · ·MIKE LINDELL:· Right.
·9· · · · ·DR. SHIVA AYYADURAI:· -- and there we are
10· ·with our big party set up and we see the results
11· ·coming in.· Now, in Massachusetts we saw in
12· ·Franklin County, which is 80 to 90-percent
13· ·hand-counted paper ballots --
14· · · · ·MIKE LINDELL:· Uh-huh.
15· · · · ·DR. SHIVA AYYADURAI:· -- no machines --
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·DR. SHIVA AYYADURAI:· -- I win by ten
18· ·percent.· And in every other county, Mike, 60-40,
19· ·60-40, 60-40, 60-40 --
20· · · · ·MIKE LINDELL:· That you lost by?
21· · · · ·DR. SHIVA AYYADURAI:· I lost by.
22· · · · ·MIKE LINDELL:· The exact percentage?
23· · · · ·DR. SHIVA AYYADURAI:· The exact percentage,
24· ·by a guy who was in -- in a black county this guy
25· ·wins, in a white county he wins, in a Hispanic


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 56 of 140
                                                                       55

·1· ·county, the guy was nowhere.
·2· · · · ·MIKE LINDELL:· By the same percent --
·3· · · · ·DR. SHIVA AYYADURAI:· By the same
·4· ·percentages.
·5· · · · ·MIKE LINDELL:· That's not only a deviation,
·6· ·but it's an anomaly.
·7· · · · ·(Talking simultaneously.)
·8· · · · ·DR. SHIVA AYYADURAI:· It's -- it's an
·9· ·anomaly.
10· · · · ·MIKE LINDELL:· Do you think it's
11· ·impossible?· Or you're like me (inaudible) --
12· · · · ·(Talking simultaneously.)
13· · · · ·DR. SHIVA AYYADURAI:· Well, it's highly --
14· ·to be from a scientific standpoint --
15· · · · ·MIKE LINDELL:· Right.
16· · · · ·DR. SHIVA AYYADURAI:· -- you would say it's
17· ·highly unlikely.
18· · · · ·MIKE LINDELL:· Right.· Right.
19· · · · ·DR. SHIVA AYYADURAI:· And that began my
20· ·journey to start really saying, wow, election
21· ·fraud could take place in America.
22· · · · ·MIKE LINDELL:· Uh-huh.
23· · · · ·DR. SHIVA AYYADURAI:· So I started reading
24· ·up everything I could.· By September 9th, eight
25· ·days later --


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 57 of 140
                                                                       56

·1· · · · ·MIKE LINDELL:· Right.
·2· · · · ·DR. SHIVA AYYADURAI:· -- I found out
·3· ·something interesting, I found out that these
·4· ·electronic voting machines -- remember there's two
·5· ·ways you can vote, one is you vote -- you give a
·6· ·paper ballot, and the paper ballot is counted by
·7· ·human beings.
·8· · · · ·MIKE LINDELL:· Right.
·9· · · · ·DR. SHIVA AYYADURAI:· Two people -- that's
10· ·what occurred in Franklin County.· But in those
11· ·other countries, they take that paper ballot, when
12· ·you vote electronically --
13· · · · ·MIKE LINDELL:· Into a machine --
14· · · · ·DR. SHIVA AYYADURAI:· It goes into a
15· ·machine, and what happens in that machine?· The
16· ·paper ballot is converted to an image called a
17· ·ballot image.
18· · · · ·MIKE LINDELL:· Right.· Right.
19· · · · ·DR. SHIVA AYYADURAI:· No different than you
20· ·taking a phone --
21· · · · ·MIKE LINDELL:· Right.
22· · · · ·DR. SHIVA AYYADURAI:· -- a picture with
23· ·your iPhone.
24· · · · ·MIKE LINDELL:· Right.
25· · · · ·DR. SHIVA AYYADURAI:· Now, so what is


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 58 of 140
                                                                       57

·1· ·actually counted?· The paper ballot gets put
·2· ·aside, the machine -- the electronic quote/unquote
·3· ·AI on the machine actually tries to figure out
·4· ·where the circles are, and the --
·5· · · · ·MIKE LINDELL:· Right.
·6· · · · ·DR. SHIVA AYYADURAI:· -- machine is
·7· ·counting the ballot image.
·8· · · · ·MIKE LINDELL:· Right.
·9· · · · ·DR. SHIVA AYYADURAI:· So at that stand- --
10· ·at that point I realize, oh, my God, the ballot
11· ·image is the ballot.
12· · · · ·MIKE LINDELL:· Right.
13· · · · ·DR. SHIVA AYYADURAI:· The images are the
14· ·ballot.· So I --
15· · · · ·MIKE LINDELL:· So you -- hold it -- but you
16· ·were going to get to the bottom of this no matter
17· ·what --
18· · · · ·(Talking simultaneously.)
19· · · · ·DR. SHIVA AYYADURAI:· No, I am.· Because
20· ·I --
21· · · · ·(Talking simultaneously.)
22· · · · ·MIKE LINDELL:· -- (inaudible) because
23· ·you're like me --
24· · · · ·DR. SHIVA AYYADURAI:· (Inaudible) --
25· · · · ·(Talking simultaneously.)


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 59 of 140
                                                                       58

·1· · · · ·MIKE LINDELL:· -- I want to state
·2· ·something -- one thing about Dr. Shiva, when I met
·3· ·him, I'm going, wow, he's just like me.· I look at
·4· ·deviations every day -- if I see a TV station that
·5· ·normally does 10,000 -- because I track them all
·6· ·individually, that does 10,000 and all the sudden
·7· ·one day it did only 2,000, I'll tell you what,
·8· ·what I do, is spend the rest of the day or a week,
·9· ·or a month, I'm going to find out how that
10· ·happened; because the only way things change is
11· ·what, a different input.
12· · · · ·DR. SHIVA AYYADURAI:· Exactly.
13· · · · ·MIKE LINDELL:· A different input.· So
14· ·you've got this anomaly, you've got a -- you've
15· ·got this deviation, and not just because you were
16· ·running, -- you know, it's not like you were just
17· ·bias going, you know, I won, I know I won.
18· ·You're -- now you're digging in to find out how
19· ·these -- how this weird mathematical thing --
20· · · · ·(Talking simultaneously.)
21· · · · ·DR. SHIVA AYYADURAI:· Exactly.· I mean, the
22· ·scientist engineer kicked in.
23· · · · ·MIKE LINDELL:· Right.
24· · · · ·DR. SHIVA AYYADURAI:· Right.
25· · · · ·(Talking simultaneously.)


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 60 of 140
                                                                       59

·1· · · · ·MIKE LINDELL:· Yeah.· Yeah.
·2· · · · ·DR. SHIVA AYYADURAI:· (Inaudible) you're a
·3· ·scientist and engineer in -- in a very (inaudible)
·4· ·a marketing standpoint --
·5· · · · ·MIKE LINDELL:· Right.
·6· · · · ·DR. SHIVA AYYADURAI:· -- but -- and I think
·7· ·we both sort of pursue the same (inaudible) --
·8· · · · ·(Talking simultaneously.)
·9· · · · ·MIKE LINDELL:· Right.· Right.
10· · · · ·DR. SHIVA AYYADURAI:· -- but here what we
11· ·found out was, that the first thing that gave me a
12· ·big insight is, that A, ballot images are being
13· ·created.
14· · · · ·MIKE LINDELL:· Right.
15· · · · ·DR. SHIVA AYYADURAI:· And then I also found
16· ·out by federal law -- in 1974 they passed a law
17· ·for federal elections, those ballot images must be
18· ·saved.· So that one piece of the puzzle.· Okay?
19· · · · ·MIKE LINDELL:· Right.
20· · · · ·DR. SHIVA AYYADURAI:· The other piece of
21· ·the puzzle was, I found out that the voting
22· ·machines, as early as 2002, have a feature in
23· ·there called a weighted race feature, where it's
24· ·embedded into the system, where you can multiply
25· ·candidates' votes by a percentage.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 61 of 140
                                                                       60

·1· · · · ·All right.· So what that means is, you get
·2· ·1,000 votes, I get 1,000 votes --
·3· · · · ·MIKE LINDELL:· Right.
·4· · · · ·DR. SHIVA AYYADURAI:· -- I can multiply
·5· ·your votes by two, my votes by 0.5, and if
·6· ·everyone --
·7· · · · ·MIKE LINDELL:· Right.
·8· · · · ·DR. SHIVA AYYADURAI:· -- anyone doesn't
·9· ·believe this, go look up the Debo (phonetic)
10· ·voting manual, go to Page 2-126, in the manual, in
11· ·the 2002 version --
12· · · · ·MIKE LINDELL:· Right.
13· · · · ·DR. SHIVA AYYADURAI:· -- and you'll see it
14· ·in there.
15· · · · ·MIKE LINDELL:· So were you able to prove
16· ·that yours -- that your election was stole (sic)
17· ·by the machines, did you -- mathematically, do you
18· ·prove -- did you prove 100 percent that this could
19· ·only be recreated by a machine to do that 60/40,
20· ·that same -- you know --
21· · · · ·DR. SHIVA AYYADURAI:· Yeah.· So what we
22· ·proved, Mike, was -- first of all, we showed that
23· ·the State had deleted the ballot images.
24· · · · ·MIKE LINDELL:· Right.
25· · · · ·DR. SHIVA AYYADURAI:· Which means that if


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 62 of 140
                                                                       61

·1· ·they had the ballot image, I can find the
·2· ·algorithms.· So it came upon me to use all that
·3· ·40-50 -- 40 years of experience that I learned
·4· ·from 14 all the way to MIT, I had to bring all
·5· ·that rocket science --
·6· · · · ·MIKE LINDELL:· Right.
·7· · · · ·DR. SHIVA AYYADURAI:· -- to actually look
·8· ·at the data.· And what I found out in the data was
·9· ·a very interesting anomaly.
10· · · · ·MIKE LINDELL:· Uh-huh.
11· · · · ·DR. SHIVA AYYADURAI:· Which in -- as you
12· ·said, a deviation in one --
13· · · · ·MIKE LINDELL:· Right.
14· · · · ·DR. SHIVA AYYADURAI:· -- of the counties
15· ·called Suffolk County, which is typically highly
16· ·Democrat.
17· · · · ·MIKE LINDELL:· Right.
18· · · · ·DR. SHIVA AYYADURAI:· So we were able to
19· ·see these interesting numbers up-down, up-down,
20· ·up-down.
21· · · · ·MIKE LINDELL:· Right.
22· · · · ·DR. SHIVA AYYADURAI:· Essentially --
23· ·imagine going to a casino, every time you roll
24· ·twice the number of odd, as you get even.
25· · · · ·MIKE LINDELL:· Right.· Right.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 63 of 140
                                                                       62

·1· · · · ·DR. SHIVA AYYADURAI:· It's not likely.
·2· ·(Inaudible) should be --
·3· · · · ·(Talking simultaneously.)
·4· · · · ·MIKE LINDELL:· (Inaudible) --
·5· · · · ·DR. SHIVA AYYADURAI:· -- 50/50.
·6· · · · ·MIKE LINDELL:· Right.
·7· · · · ·DR. SHIVA AYYADURAI:· And, in fact, when we
·8· ·did the numbers, that pattern could only occur one
·9· ·in 100,000.
10· · · · ·MIKE LINDELL:· Uh-huh.
11· · · · ·DR. SHIVA AYYADURAI:· We applied -- we --
12· ·you know, sued the State on this.· And the Judge
13· ·did not dismiss our case.
14· · · · ·MIKE LINDELL:· It's still open?
15· · · · ·DR. SHIVA AYYADURAI:· It's still -- not
16· ·only is it open, but we survived dismissal.· And
17· ·the other thing was, we also showed that when I
18· ·put this out on Twitter and said, look, the
19· ·Secretary of State deleted ballot images; Twitter
20· ·didn't do anything to me, but the Secretary of
21· ·State contacted Twitter to shut me down, along
22· ·with the National Association of State Election
23· ·Directors that came out.
24· · · · ·MIKE LINDELL:· Wow.· Well, let me stop you
25· ·right there, because I want to say something.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 64 of 140
                                                                       63

·1· · · · ·DR. SHIVA AYYADURAI:· Yeah.
·2· · · · ·MIKE LINDELL:· Did you hear the Twitter
·3· ·thing, all of you in this country and the world
·4· ·know my Twitter was taken down.· You know why it
·5· ·was taken down the first time 20-some days ago, is
·6· ·because I put up the new evidence, which Dr. Shiva
·7· ·here -- I am going to tell him in a second -- this
·8· ·new evidence that came out shows the timestamp
·9· ·in -- in space of where -- you know, where the --
10· ·who did it, what country did it, like China.
11· · · · ·DR. SHIVA AYYADURAI:· Well, remember, we
12· ·have two cases.· First, we show -- we basically
13· ·went into court saying the Secretary of State
14· ·contacted Twitter -- that means Twitter takes
15· ·orders from the government.· This is what we
16· ·showed.· Twitter takes orders --
17· · · · ·MIKE LINDELL:· And you --
18· · · · ·(Talking simultaneously.)
19· · · · ·DR. SHIVA AYYADURAI:· -- from the
20· ·government.
21· · · · ·MIKE LINDELL:· -- and that's proven, that's
22· ·100 percent.
23· · · · ·DR. SHIVA AYYADURAI:· Yes.· It came out at
24· ·three --
25· · · · ·(Talking simultaneously.)


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 65 of 140
                                                                       64

·1· · · · ·MIKE LINDELL:· 100 percent the Secretary of
·2· ·State --
·3· · · · ·DR. SHIVA AYYADURAI:· -- (inaudible) three
·4· ·hours of testimony --
·5· · · · ·MIKE LINDELL:· -- (inaudible) Jack
·6· ·Dorsey --
·7· · · · ·DR. SHIVA AYYADURAI:· Took orders from the
·8· ·Secretary of State of Massachusetts.· This is what
·9· ·happens in countries like China.· The government
10· ·tells the corporations what to do.· And in the
11· ·United States, what came out in our three-hours of
12· ·testimony, where I represented myself --
13· · · · ·MIKE LINDELL:· Right.
14· · · · ·DR. SHIVA AYYADURAI:· -- no one wanted to
15· ·take the swamp on in Massachusetts --
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·DR. SHIVA AYYADURAI:· -- so it came out
18· ·was, we have the Secretary of State's -- the
19· ·election director and the communications officer
20· ·saying they contacted Twitter to shut me down.
21· · · · ·MIKE LINDELL:· Is that still open?
22· · · · ·DR. SHIVA AYYADURAI:· And Twitter obeyed.
23· · · · ·MIKE LINDELL:· Is that still open?
24· · · · ·DR. SHIVA AYYADURAI:· Not only is it open,
25· ·the Judge gave me the restraining order and the


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 66 of 140
                                                                       65

·1· ·case is open.
·2· · · · ·And my other case to decertify, they tried
·3· ·to apply 100-200 page motion to dismiss, and the
·4· ·Judge denied their motion.
·5· · · · ·MIKE LINDELL:· Wow.
·6· · · · ·DR. SHIVA AYYADURAI:· And that means --
·7· ·look, MIT -- MIT is in Massachusetts, right?
·8· · · · ·MIKE LINDELL:· Uh-huh.
·9· · · · ·DR. SHIVA AYYADURAI:· There's a lot of
10· ·computer people there.
11· · · · ·MIKE LINDELL:· Right.
12· · · · ·DR. SHIVA AYYADURAI:· No one has rebutted
13· ·my mathematical explanation showing that they
14· ·multiplied my -- my votes by 0.666.· So --
15· · · · ·MIKE LINDELL:· 666 they multiplied it by?
16· · · · ·DR. SHIVA AYYADURAI:· Exactly.· And the
17· ·other guy is by 1.2.
18· · · · ·MIKE LINDELL:· Everybody hear that?
19· · · · ·DR. SHIVA AYYADURAI:· Well, I think -- I
20· ·think one of the things the public needs to
21· ·understand is, federal laws, the Department of
22· ·Justice is supposed to enforce them.
23· · · · ·MIKE LINDELL:· Right.
24· · · · ·DR. SHIVA AYYADURAI:· You know, when we
25· ·found out the ballot images were deleted, we


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 67 of 140
                                                                       66

·1· ·informed the -- what's his name -- Barr --
·2· · · · ·MIKE LINDELL:· Right.
·3· · · · ·DR. SHIVA AYYADURAI:· -- and the local U.S.
·4· ·attorney, and they've done nothing.
·5· · · · ·MIKE LINDELL:· No.
·6· · · · ·DR. SHIVA AYYADURAI:· So, basically, this
·7· ·is what happened in third-world countries.· Right?
·8· · · · ·(Talking simultaneously.)
·9· · · · ·MIKE LINDELL:· (Inaudible)?
10· · · · ·DR. SHIVA AYYADURAI:· They have laws, but
11· ·nothing is followed.
12· · · · ·MIKE LINDELL:· Right.
13· · · · ·DR. SHIVA AYYADURAI:· And if that's where
14· ·we've gotten into, it's a serious problem for this
15· ·country --
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·DR. SHIVA AYYADURAI:· -- because the laws
18· ·don't mean anything (inaudible) --
19· · · · ·(Talking simultaneously.)
20· · · · ·MIKE LINDELL:· Well, it's a series of
21· ·(inaudible) you mentioned Barr -- I mean, he comes
22· ·out and says there was no election fraud.· You
23· ·know, here we have right here -- you told him of
24· ·some, right?
25· · · · ·DR. SHIVA AYYADURAI:· I told him of some.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 68 of 140
                                                                       67

·1· ·I (inaudible) --
·2· · · · ·MIKE LINDELL:· And was this before the
·3· ·election even?
·4· · · · ·(Talking simultaneously.)
·5· · · · ·DR. SHIVA AYYADURAI:· Before -- well, this
·6· ·is in October.· I --
·7· · · · ·MIKE LINDELL:· October?
·8· · · · ·DR. SHIVA AYYADURAI:· -- walked -- so
·9· ·this -- it -- yeah.
10· · · · ·MIKE LINDELL:· Bill Barr, if you're
11· ·watching -- I mean, what -- why would you say
12· ·something like that when -- yes, this is -- this
13· ·wasn't just election fraud, this was a historical
14· ·election fraud.
15· · · · ·This was coming from a lecture (phonetic)
16· ·-- from machines, from these machines, a biblical
17· ·proportions -- of historical proportions, and now
18· ·this is -- it's all going to get exposed.
19· · · · ·And I want all these -- I want the
20· ·Senators, the Congressmen, the government, the
21· ·governors, the legislatures -- everybody needs to
22· ·watch this show.· And when you do, you know, a lot
23· ·of you can go, wow, I never knew, I never knew.
24· ·And that will be a lot of excuses for a lot of
25· ·them, because of our mainstream media, and all the


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 69 of 140
                                                                       68

·1· ·people -- I can't even believe the money spent to
·2· ·suppress this.· You know, to -- to suppress it.
·3· · · · ·(Inaudible) when you pop -- anything that
·4· ·popped up, boy, they were right on it.· Let's
·5· ·destroy him.
·6· · · · ·MIKE LINDELL:· Right.
·7· · · · ·DR. SHIVA AYYADURAI:· Let's destroy him.
·8· · · · ·Like who was the last thing to pop up?· Me.
·9· ·When I say this, I popped up.· And how do you
10· ·destroy my platform, because everybody knows I'm
11· ·out there, they've done everything they could
12· ·from -- from bots and trolls to go after my
13· ·integrity, to -- to Twitter.· I mean, it's just
14· ·been a massive attack.· But then you know you're
15· ·right over target, right?
16· · · · ·DR. SHIVA AYYADURAI:· It wasn't Twitter
17· ·acted alone.· We found the government --
18· · · · ·MIKE LINDELL:· Right.
19· · · · ·DR. SHIVA AYYADURAI:· -- contacting
20· ·Twitter.· Now, this is a fundamental violation of
21· ·the first amendment.· Political speech, government
22· ·speech, cannot supercede political speech.
23· · · · ·MIKE LINDELL:· No.
24· · · · ·DR. SHIVA AYYADURAI:· So I -- I bet you
25· ·you'll find out that some government official may


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 70 of 140
                                                                       69

·1· ·have likely been involved in contacting Twitter.
·2· · · · ·MIKE LINDELL:· Oh, they -- oh, yeah.
·3· · · · ·DR. SHIVA AYYADURAI:· And that's why
·4· ·(inaudible) --
·5· · · · ·(Talking simultaneously.)
·6· · · · ·MIKE LINDELL:· I know Jack
·7· ·Dorsey (inaudible) -- well, Jack, if you're out
·8· ·there -- I mean, you did this to my movie a couple
·9· ·years ago with Unplanned, where they shut
10· ·Twitter -- shut -- Twitter shut that down for two
11· ·hours when -- when it launched.
12· · · · ·DR. SHIVA AYYADURAI:· (Inaudible) --
13· · · · ·MIKE LINDELL:· I mean, you look at -- now,
14· ·we're getting a whole segment there where you're
15· ·talking about how -- we all know the social media,
16· ·what they've done, you know, from Mark -- Mark
17· ·Zuckerberg and -- and Jack Dorsey, these
18· ·platforms, the power they have along with the
19· ·mainstream media -- you know, what do they do when
20· ·they took -- you talk about third-world country --
21· ·in Nazi Germany they took over -- you know, all
22· ·your -- in any country like that, they'll take
23· ·over your communication.
24· · · · ·You know, how are we going to
25· ·communicate -- you're hearing one side, (makes


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 71 of 140
                                                                       70

·1· ·sound) -- you know, and -- and this is where we're
·2· ·at.
·3· · · · ·But we're going to get this out there, this
·4· ·show is going to be a -- this is what everybody
·5· ·has been waiting for.
·6· · · · ·And, you know, I encourage a newscast out
·7· ·there -- if you're -- all these journalists and
·8· ·all -- and all you guys that have been calling me,
·9· ·all -- for three weeks now, you never called me
10· ·before, you're -- from your CNNs, to your New York
11· ·Times, your Washington Post, all you guys have
12· ·been calling non-stop every day, because you think
13· ·you got some kind of -- making up some dirt or
14· ·something, or because Dominion -- you're saying
15· ·things about Dominion -- I encourage all of you --
16· ·why don't you be a real journalist and take this
17· ·story and run with it.· Be the first one to go,
18· ·wow, this is real; you bet -- maybe it will
19· ·(inaudible) became the biggest outlet in the
20· ·country by doing that (inaudible) --
21· · · · ·(Talking simultaneously.)
22· · · · ·DR. SHIVA AYYADURAI:· Because the real
23· ·crime scene in American is these computer
24· ·algorithms.
25· · · · ·MIKE LINDELL:· And I'm going to tell you --


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 72 of 140
                                                                       71

·1· ·that is the crime scene.· And I'm going to tell
·2· ·you, this is their game, too, that these machines
·3· ·guys play -- (inaudible) like Dominion, they went
·4· ·out there -- and a lot of these places, I couldn't
·5· ·even go out in the media and talk about these
·6· ·machines, because they were threatened.
·7· · · · ·I go out on a -- I go on a news talk show
·8· ·and they go, we can't talk about that.· I was just
·9· ·one last night, you can't talk about that.· Why
10· ·not?· Okay.
11· · · · ·Now, we have Patrick Colbeck.· And he was a
12· ·former-State Senator in Michigan.
13· · · · ·And Patrick, how are you
14· ·involved (inaudible) -- what brought you here
15· ·today?
16· · · · ·PATRICK COLBECK:· Yeah.· Well, I came
17· ·from -- as a result of my decision to be a poll
18· ·challenger out of Detroit AV counting board, and
19· ·(inaudible) marathon 25-hour shift from -- to
20· ·starting on election night, around five o'clock,
21· ·all the way through the next day.
22· · · · ·MIKE LINDELL:· Wow.
23· · · · ·PATRICK COLBECK:· So we witnessed all the
24· ·fun --
25· · · · ·MIKE LINDELL:· This was in Michigan?


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 73 of 140
                                                                       72

·1· · · · ·PATRICK COLBECK:· Yeah.
·2· · · · ·MIKE LINDELL:· Where at Michigan, what
·3· ·county?
·4· · · · ·PATRICK COLBECK:· At the Detroit AV
·5· ·counting board in Wayne County.· A little
·6· ·background on me -- I mean, I was a form- -- when
·7· ·I was a state senator, I was actually the
·8· ·Vice-Chair of the Elections Government -- or
·9· ·Elections and Government Reform Committee in the
10· ·Michigan --
11· · · · ·MIKE LINDELL:· Right.
12· · · · ·PATRICK COLBECK:· -- State Senate.· And in
13· ·addition to that background, my background as a
14· ·Microsoft small business specialist.· And I -- I
15· ·did cabling design in the space station.· So in
16· ·other words, I'm familiar we election processes
17· ·and I'm familiar with network configurations.
18· · · · ·So my focus when I came at the Detroit AV
19· ·counting board was, I wanted to understand
20· ·specifically the hand off of vote tally
21· ·information throughout the system.
22· · · · ·We did see evidence that it was connected
23· ·to the internet --
24· · · · ·MIKE LINDELL:· What was that evidence?
25· · · · ·PATRICK COLBECK:· Well, that -- that


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 74 of 140
                                                                       73

·1· ·control center -- they've already been -- they've
·2· ·already admitted to the fact that that control
·3· ·center had computers that were connected to the
·4· ·Internet.
·5· · · · ·And we saw the actual cable routed from the
·6· ·wall of the -- of the TCF center to the control
·7· ·center, and we have election officials that
·8· ·admitted that there were computers that --
·9· · · · ·MIKE LINDELL:· That were online --
10· · · · ·PATRICK COLBECK:· -- in the control center
11· ·that were connected to the Internet.
12· · · · ·MIKE LINDELL:· Wow.
13· · · · ·PATRICK COLBECK:· And anybody with -- worth
14· ·their salt in IT land understand that if one
15· ·computer connected to the Internet, they're all --
16· · · · ·MIKE LINDELL:· They're all --
17· · · · ·(Talking simultaneously.)
18· · · · ·DR. SHIVA AYYADURAI:· -- connected to the
19· ·Internet.· You may say it's air gapped, you may --
20· · · · ·MIKE LINDELL:· Right.
21· · · · ·PATRICK COLBECK:· -- say you have a
22· ·firewall -- (inaudible) --
23· · · · ·(Talking simultaneously.)
24· · · · ·DR. SHIVA AYYADURAI:· -- there's people
25· ·that eat firewalls for breakfast.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 75 of 140
                                                                       74

·1· · · · ·MIKE LINDELL:· So that -- so what you're
·2· ·saying, you knowing that, so if it's connected to
·3· ·the Internet, somebody out there could have hacked
·4· ·in --
·5· · · · ·PATRICK COLBECK:· Yeah.
·6· · · · ·MIKE LINDELL:· -- and did the flip in the
·7· ·votes?
·8· · · · ·PATRICK COLBECK:· Yep.· When you get into a
·9· ·case where you've got the same devices that are
10· ·supposed to be capturing that vote tally,
11· ·connected to the Internet -- or frankly, even
12· ·connected to a large local area network --
13· · · · ·MIKE LINDELL:· Right.· Right.
14· · · · ·PATRICK COLBECK:· -- and you can't witness
15· ·that hand off of vote tallies, you don't have that
16· ·seal.
17· · · · ·So you may be thinking you're passing that
18· ·information from point A to point B, but there's
19· ·nothing to --
20· · · · ·MIKE LINDELL:· It's intercepted --
21· · · · ·PATRICK COLBECK:· -- prevent it being --
22· ·from going to point C --
23· · · · ·MIKE LINDELL:· Right.
24· · · · ·PATRICK COLBECK:· -- in the interim.· It's
25· ·called --


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 76 of 140
                                                                       75

·1· · · · ·(Talking simultaneously.)
·2· · · · ·MIKE LINDELL:· So that --
·3· · · · ·PATRICK COLBECK:· -- the man-in-the-middle
·4· ·attack.
·5· · · · ·MIKE LINDELL:· Right.· So that -- so if
·6· ·you're on -- if you're online -- I mean, anybody
·7· ·could get in there --
·8· · · · ·PATRICK COLBECK:· Yeah.
·9· · · · ·MIKE LINDELL:· -- and then do that --
10· ·because they're intercepting that -- it's an
11· ·interception.· That's why you don't have --
12· · · · ·PATRICK COLBECK:· Right.
13· · · · ·MIKE LINDELL:· -- machines aren't supposed
14· ·to be online in an election, right?
15· · · · ·PATRICK COLBECK:· Yes.· It's called --
16· · · · ·MIKE LINDELL:· They're not --
17· · · · ·PATRICK COLBECK:· -- man-in-the-middle --
18· · · · ·(Talking simultaneously.)
19· · · · ·MIKE LINDELL:· Right.
20· · · · ·PATRICK COLBECK:· -- and you wouldn't
21· ·accept that if it was a traditional precinct --
22· · · · ·MIKE LINDELL:· Right.
23· · · · ·PATRICK COLBECK:· -- and you got that --
24· ·you got that -- that precinct results and it
25· ·wasn't sealed, you would be raising your hand


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 77 of 140
                                                                       76

·1· ·saying something is rotten here.
·2· · · · ·MIKE LINDELL:· Absolutely.· I want to ask
·3· ·this though, because if you were there, did it
·4· ·slow down in the middle of the night when you were
·5· ·there?
·6· · · · ·PATRICK COLBECK:· Absolutely.
·7· · · · ·MIKE LINDELL:· Like (inaudible) -- so it
·8· ·slowed down --
·9· · · · ·(Talking simultaneously.)
10· · · · ·DR. SHIVA AYYADURAI:· It was almost dead as
11· ·a night -- yeah, that's when some ballots came in
12· ·the back door.
13· · · · ·MIKE LINDELL:· Well, now we're here with
14· ·Melissa Carone.
15· · · · ·And you were actually hired by Dominion for
16· ·November 3rd and 4th, just for two days --
17· · · · ·MELISSA CARONE:· Yes.
18· · · · ·MIKE LINDELL:· -- right?
19· · · · ·MELISSA CARONE:· Yeah.
20· · · · ·MIKE LINDELL:· And -- and they found you
21· ·online, right?· You had a resume online, you have
22· ·an IT background?
23· · · · ·MELISSA CARONE:· Yep.· Yep.
24· · · · ·MIKE LINDELL:· Okay.· So why don't you tell
25· ·us -- you know, tell us what happened?


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 78 of 140
                                                                       77

·1· · · · ·MELISSA CARONE:· So I was there to assist
·2· ·with IT work --
·3· · · · ·MIKE LINDELL:· Okay.
·4· · · · ·MELISSA CARONE:· -- for Dominion.
·5· · · · ·MIKE LINDELL:· Okay.
·6· · · · ·MELISSA CARONE:· So what I was doing was
·7· ·just walking up and down the rows of the
·8· ·(inaudible) --
·9· · · · ·(Talking simultaneously.)
10· · · · ·MIKE LINDELL:· By the machines?
11· · · · ·MELISSA CARONE:· -- the machines.· Yeah.
12· ·Yeah.
13· · · · ·MIKE LINDELL:· Okay.· So there's -- it's a
14· ·tabulating machine?
15· · · · ·MELISSA CARONE:· Yes.· So I could get very
16· ·close to these machines.· And --
17· · · · ·MIKE LINDELL:· Okay.· So then -- so what
18· ·about the -- was that the only kind of machine?
19· · · · ·MELISSA CARONE:· No, there was -- so on the
20· ·stage there was adjudication machines in the front
21· ·and the back --
22· · · · ·MIKE LINDELL:· Okay.
23· · · · ·MELISSA CARONE:· -- and then on the sides
24· ·there was the adjudicate- -- or the --
25· · · · ·MIKE LINDELL:· Okay.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 79 of 140
                                                                       78

·1· · · · ·MELISSA CARONE:· -- I'm sorry -- the
·2· ·tabulating machines.
·3· · · · ·MIKE LINDELL:· Right.· Both Dominion
·4· ·machines, correct?
·5· · · · ·MELISSA CARONE:· Both Dominion machines.
·6· · · · ·MIKE LINDELL:· Okay.· All right.· So you
·7· ·got to see what -- thousands of votes?
·8· · · · ·MELISSA CARONE:· Thousands.
·9· · · · ·MIKE LINDELL:· Thousands upon thousands of
10· ·votes.
11· · · · ·Okay.· What was on every vote?
12· · · · ·MELISSA CARONE:· Every vote that I saw was
13· ·for Joe Biden.
14· · · · ·MIKE LINDELL:· For Joe Biden.· When I heard
15· ·this, and I want to say, the -- you seen -- you
16· ·worked how many hours?
17· · · · ·MELISSA CARONE:· 22 straight hours.
18· · · · ·MIKE LINDELL:· And then you came back for
19· ·four hours?
20· · · · ·MELISSA CARONE:· Correct.
21· · · · ·MIKE LINDELL:· Out of all that time, did
22· ·you ever see one Trump vote?
23· · · · ·MELISSA CARONE:· I never saw a single Trump
24· ·vote.
25· · · · ·MIKE LINDELL:· All right.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 80 of 140
                                                                       79

·1· · · · ·MELISSA CARONE:· So when the ballots got to
·2· ·the tabulating machines, they would just put
·3· ·them through -- put them -- it's kind of like a
·4· ·printer, you would look at it kind of like a
·5· ·printer, where the paper would come out normally.
·6· · · · ·MIKE LINDELL:· Right.
·7· · · · ·MELISSA CARONE:· That's --
·8· · · · ·MIKE LINDELL:· Yeah.· Yeah.
·9· · · · ·MELISSA CARONE:· -- where they put in.· And
10· ·it would end up as they were tabulated on the top
11· ·of the machine.· Okay.
12· · · · ·MIKE LINDELL:· Right.· Right.
13· · · · ·MELISSA CARONE:· Okay.· So these would jam
14· ·constantly.· Constantly jam.
15· · · · ·MIKE LINDELL:· Right.
16· · · · ·MELISSA CARONE:· And --
17· · · · ·MIKE LINDELL:· Right.
18· · · · ·MELISSA CARONE:· -- and -- because these
19· ·are mail-in ballots, the creases --
20· · · · ·MIKE LINDELL:· Right.
21· · · · ·MELISSA CARONE:· -- anything on it --
22· · · · ·MIKE LINDELL:· Right.
23· · · · ·MELISSA CARONE:· -- would -- would jam
24· ·this.
25· · · · ·MIKE LINDELL:· And when they jammed, what


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 81 of 140
                                                                       80

·1· ·happened?
·2· · · · ·MELISSA CARONE:· When they jammed --
·3· · · · ·MIKE LINDELL:· This is very interesting.
·4· · · · ·MELISSA CARONE:· -- they would take the
·5· ·ballot on the computer -- there was a computer in
·6· ·front of each person --
·7· · · · ·MIKE LINDELL:· Right.
·8· · · · ·MELISSA CARONE:· -- it would say ballot
·9· ·number, you know, 20 --
10· · · · ·MIKE LINDELL:· 20.
11· · · · ·MELISSA CARONE:· -- jammed --
12· · · · ·MIKE LINDELL:· Out of a group of 50.· So
13· ·the --
14· · · · ·MELISSA CARONE:· Yeah.
15· · · · ·MIKE LINDELL:· -- 20th ballot jammed?
16· · · · ·MELISSA CARONE:· Uh-huh.
17· · · · ·MIKE LINDELL:· Then what -- then what?
18· · · · ·MELISSA CARONE:· So it would say discard or
19· ·rescan; and the way they were supposed to do it is
20· ·discard them, and -- and then rescan them, but
21· ·they were not discarding these --
22· · · · ·MIKE LINDELL:· So they used the same --
23· ·let's say 30 went through, it got stuck on the
24· ·30th one --
25· · · · ·MELISSA CARONE:· Uh-huh.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 82 of 140
                                                                       81

·1· · · · ·MIKE LINDELL:· They would put that number
·2· ·30 at the top of the same 50 --
·3· · · · ·MELISSA CARONE:· Yeah.
·4· · · · ·MIKE LINDELL:· -- pack and run them through
·5· ·again?
·6· · · · ·MELISSA CARONE:· Yeah.
·7· · · · ·MIKE LINDELL:· So you're telling me that
·8· ·tabulator had no way to know, it's just counting
·9· ·the -- the number of -- like a -- counting a deck
10· ·of cards?
11· · · · ·MELISSA CARONE:· That's exactly what it was
12· ·doing.
13· · · · ·MIKE LINDELL:· It's not -- you can sit
14· ·there and run the same deck of cards through this
15· ·tabulator over and over --
16· · · · ·MELISSA CARONE:· Yes.
17· · · · ·MIKE LINDELL:· -- over and over again.
18· · · · ·MELISSA CARONE:· Yeah.
19· · · · ·MIKE LINDELL:· Is that right?
20· · · · ·MELISSA CARONE:· Yeah.· So one time through
21· ·the night, I approached my manager and I said:
22· ·This -- this machine has a count of over 400 on
23· ·it.
24· · · · ·MIKE LINDELL:· Right.
25· · · · ·MELISSA CARONE:· I said:· What's going on


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 83 of 140
                                                                       82

·1· ·here?· And he -- I said:· This is not right.
·2· ·There's -- it should not go above 50.· There --
·3· ·because the batches are only 50.
·4· · · · ·MIKE LINDELL:· Only 50.
·5· · · · ·MELISSA CARONE:· And I said:· We have a
·6· ·huge problem here.
·7· · · · ·And he said:· I don't -- he pulled me aside
·8· ·and he said:· I don't want to hear that we have a
·9· ·problem.· He said:· We are here to assist with IT
10· ·work.
11· · · · ·MIKE LINDELL:· Now is this a Dominion guy?
12· · · · ·MELISSA CARONE:· He -- he own- -- he's
13· ·actually a part owner of Dominion.
14· · · · ·MIKE LINDELL:· Wow.· Okay.
15· · · · ·MELISSA CARONE:· Yes.
16· · · · ·MIKE LINDELL:· What -- so 26 hours of
17· ·watching ballot after ballot, (inaudible) --
18· · · · ·MELISSA CARONE:· Uh-huh.
19· · · · ·MIKE LINDELL:· -- walking up and down these
20· ·tabulating machines, not one ballot was for Donald
21· ·Trump.
22· · · · ·Okay.· Now, we're here with Matt DePerno,
23· ·and he's the lawyer that we all heard about this
24· ·Antrim County.
25· · · · ·How did you get -- this county that you


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 84 of 140
                                                                       83

·1· ·hear about and how do you even get involved in
·2· ·this?
·3· · · · ·MATT DEPERNO:· Sure.· Well, I know some
·4· ·people who live up in Antrim County, and Antrim
·5· ·County is a small county up in Northern Michigan.
·6· ·It historically votes roughly 65 percent
·7· ·Republican, 35 percent Democrat.
·8· · · · ·And in this case, it completely flipped on
·9· ·election night.· Roughly 65 percent of the vote
10· ·went to Joe Biden, and 35 percent to Donald Trump.
11· · · · ·So people who lived up there knew that
12· ·there was a problem.· They knew that the results
13· ·were not correct.
14· · · · ·And on the morning of November 4th, they
15· ·actually contacted the Antrim County Clerk and
16· ·requested that she look into the results, because
17· ·they knew what had been posted on the website
18· ·could not be true.
19· · · · ·And through a series of events, people I
20· ·knew up there, and a person named Bill Bailey, who
21· ·is a -- a patriot who lives up in Antrim County,
22· ·and who knew there was a problem and wanted to
23· ·challenge the results, they ended up connecting
24· ·him to me and I filed a lawsuit.
25· · · · ·But what's important is, in -- in filing


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 85 of 140
                                                                       84

·1· ·this lawsuit, we weren't seeking publicity.· We
·2· ·weren't seeking fame.· We just wanted to get
·3· ·results.
·4· · · · ·We filed the name in -- in the name of a
·5· ·patriot named Bill Bailey, and we challenged
·6· ·down-ballot School Board elections.· That's what
·7· ·he was most interested in, in learning about
·8· ·School Board elections.· Of course, he was
·9· ·obviously, also interested in other aspects of the
10· ·election, what happened in the presidential
11· ·election, and how did things flip.
12· · · · ·But primarily, we -- the case centered on
13· ·local politics.· And if you look at certain
14· ·townships, like Chestonia Township --
15· · · · ·MIKE LINDELL:· Okay.
16· · · · ·MATT DEPERNO:· -- Joe Biden got a 197 votes
17· ·on November 3rd.
18· · · · ·MIKE LINDELL:· Right.· Right.
19· · · · ·MATT DEPERNO:· In reality, he only got 93.
20· · · · ·MIKE LINDELL:· How do you know that -- that
21· ·he only got 93?
22· · · · ·MATT DEPERNO:· Because there's since been a
23· ·hand recount.
24· · · · ·MIKE LINDELL:· A hand recount.· So when did
25· ·they do that?


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 86 of 140
                                                                       85

·1· · · · ·MATT DEPERNO:· They did a hand recount on
·2· ·November 21st, and then again on December 17th.
·3· · · · ·MIKE LINDELL:· Right.· Right.
·4· · · · ·MATT DEPERNO:· On December 17th --
·5· · · · ·MIKE LINDELL:· Okay.
·6· · · · ·MATT DEPERNO:· -- they actually -- they
·7· ·told us they were going to do a full audit of the
·8· ·county --
·9· · · · ·MIKE LINDELL:· Right.
10· · · · ·MATT DEPERNO:· -- the Secretary of State
11· ·did.
12· · · · ·MIKE LINDELL:· Right.
13· · · · ·MATT DEPERNO:· But in reality, they only
14· ·did a hand recount again.
15· · · · ·MIKE LINDELL:· Okay.· So on the recounts,
16· ·we got a 197; and then over here, Donald Trump had
17· ·three.
18· · · · ·So then when you -- the real numbers were
19· ·93 and 197; is that correct?
20· · · · ·MATT DEPERNO:· That's correct.· So you can
21· ·see Joe Biden on election night got --
22· · · · ·MIKE LINDELL:· Right.
23· · · · ·MATT DEPERNO:· -- 197, he got Donald
24· ·Trump's 197 votes.
25· · · · ·MIKE LINDELL:· Right.· They -- right.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 87 of 140
                                                                       86

·1· · · · ·MATT DEPERNO:· We can know -- we know that
·2· ·was a --
·3· · · · ·MIKE LINDELL:· This is 100 percent fact
·4· ·here?
·5· · · · ·MATT DEPERNO:· 100 percent factual --
·6· · · · ·MIKE LINDELL:· Now -- now what we're
·7· ·showing here, you guys, so everyone knows, these
·8· ·are all precincts.· I don't know if you can see
·9· ·this here, these are all precincts.
10· · · · ·So let's just do this precinct -- precinct.
11· ·392, this is done through the machines, and Donald
12· ·Trump got eight.· What?
13· · · · ·So here is -- the 392 to 8, but the real
14· ·number was 198 to 392.
15· · · · ·MATT DEPERNO:· And if you see here, Elk
16· ·Township, Joe Biden got 392 on election --
17· · · · ·MIKE LINDELL:· Right.
18· · · · ·MATT DEPERNO:· -- in reality, those Donald
19· ·Trump's votes.· Those were the 392.
20· · · · ·MIKE LINDELL:· Right.· They were just
21· ·flipped.· In order for that to be off, and -- and
22· ·you do the conclusion, which I would right now,
23· ·100 percent, how can that be off?· It would be
24· ·something wrong with what?
25· · · · ·MATT DEPERNO:· The machine.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 88 of 140
                                                                       87

·1· · · · ·MIKE LINDELL:· The machines.· The machines.
·2· ·And what we're showing here right now, what you're
·3· ·going to see, all this -- what we've been talking
·4· ·about, this massive machine election fraud that
·5· ·went on, where countries hacked into our election,
·6· ·and nationwide -- this is one little county in
·7· ·Northern Michigan, and these machines would do it
·8· ·right down to the precinct.
·9· · · · ·Okay.· But you're going to see -- this is
10· ·the example we have that we're -- that was hand
11· ·counted, and -- you know, the rest of the country,
12· ·you know, didn't get to do that.· They didn't have
13· ·the luxury of being able to do that, you know.
14· ·And -- so what I want to tell y'all, is this is
15· ·the perfect example -- just so you know, right
16· ·down to the precinct-level what went on with these
17· ·machines.
18· · · · ·I want to see one more here.· So --
19· · · · ·MATT DEPERNO:· Well, you can look at
20· ·like -- Kearney Township --
21· · · · ·MIKE LINDELL:· Yeah.
22· · · · ·MATT DEPERNO:· -- Joe Biden got 744 on
23· ·election night --
24· · · · ·MIKE LINDELL:· Right.
25· · · · ·MATT DEPERNO:· -- those were Donald Trump's


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 89 of 140
                                                                       88

·1· ·votes.· He actually recorded 16 on election night.
·2· · · · ·MIKE LINDELL:· Okay.· So here's this county
·3· ·that traditionally always is like 65 percent
·4· ·Republican, 35 percent Democrat, correct?
·5· · · · ·MATT DEPERNO:· Correct.· That's correct.
·6· · · · ·MIKE LINDELL:· Okay.· So everyone in the
·7· ·county knew when these numbers came in on -- on
·8· ·November 4th, they're going, there's something
·9· ·wrong with the machines.· Everyone -- everyone
10· ·would think that.· It wouldn't matter if you're a
11· ·Democrat or a Republican, you're going, wow.
12· · · · ·And it's not like what -- and they couldn't
13· ·use the deviation of saying, well, it was because
14· ·of mail-in voting, because this is -- there's no
15· ·huge cities in there like Detroit, correct?
16· · · · ·MATT DEPERNO:· That's correct.
17· · · · ·MIKE LINDELL:· Right.· So I just want
18· ·everyone out there to know this before you get
19· ·into (inaudible) this is just a small county,
20· ·Northern Michigan, and they ended up flipping --
21· ·we had 15,718 votes.
22· · · · ·MATT DEPERNO:· 15,718 votes.
23· · · · ·MIKE LINDELL:· Votes.· And 7,060 were
24· ·flipped from Biden -- or Trump to Biden; is that
25· ·correct?


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 90 of 140
                                                                       89

·1· · · · ·MATT DEPERNO:· Yeah.· And what's more --
·2· · · · ·MIKE LINDELL:· Wow.
·3· · · · ·MATT DEPERNO:· -- what's even more
·4· ·interesting --
·5· · · · ·MIKE LINDELL:· By machine.· By machines,
·6· ·right?
·7· · · · ·MATT DEPERNO:· By machine --
·8· · · · ·MIKE LINDELL:· (Inaudible) done by the
·9· ·machines?
10· · · · ·MATT DEPERNO:· Absolutely by machines.
11· · · · ·MIKE LINDELL:· Okay.
12· · · · ·MATT DEPERNO:· If you look at the original
13· ·vote count, 7,769.
14· · · · ·MIKE LINDELL:· Right.
15· · · · ·MATT DEPERNO:· -- for Don- -- Joe Biden and
16· ·4,509 for Donald Trump.
17· · · · ·MIKE LINDELL:· Right.· Right.
18· · · · ·MATT DEPERNO:· That actually totals 12,278
19· ·votes.
20· · · · ·MIKE LINDELL:· Right.
21· · · · ·MATT DEPERNO:· By machine, on November 3rd.
22· ·That's the vote tally.
23· · · · ·MIKE LINDELL:· Right.
24· · · · ·MATT DEPERNO:· That wasn't correct, because
25· ·if you look at the hand recount, it was actually


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 91 of 140
                                                                       90

·1· ·5959, for Joe Biden and 9759 for --
·2· · · · ·MIKE LINDELL:· Right.
·3· · · · ·MATT DEPERNO:· -- Donald Trump, which gets
·4· ·us to 15,718 votes.
·5· · · · ·MIKE LINDELL:· Got you.
·6· · · · ·MATT DEPERNO:· So the question is, where
·7· ·did -- where was the 3200 votes --
·8· · · · ·MIKE LINDELL:· Right.
·9· · · · ·MATT DEPERNO:· -- on election night?
10· · · · ·MIKE LINDELL:· Right.
11· · · · ·MATT DEPERNO:· Why weren't they --
12· · · · ·MIKE LINDELL:· And --
13· · · · ·MATT DEPERNO:· -- recorded?
14· · · · ·MIKE LINDELL:· Right.· And that -- but --
15· ·but even -- even with that -- and we don't know
16· ·why, we don't know why on that.· We're -- I'm here
17· ·to show everyone now the facts and evidence that I
18· ·have seen, 100 percent.
19· · · · ·Here's 100 percent.· This little county in
20· ·Northern Michigan, the -- look at what the
21· ·difference was, it was a net of 5,250 votes; is
22· ·that correct?
23· · · · ·MATT DEPERNO:· That's a net for Donald
24· ·Trump.
25· · · · ·MIKE LINDELL:· That's a net for Donald


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 92 of 140
                                                                       91

·1· ·Trump.· There was 7,000 -- that's where you get
·2· ·the 7,060 votes.
·3· · · · ·MATT DEPERNO:· So what I want to show you
·4· ·here in the next slide is -- actually the number
·5· ·of registered voters -- this is what you're
·6· ·getting to, the number of registered voters in the
·7· ·county is 22,082 votes.
·8· · · · ·MIKE LINDELL:· Right.
·9· · · · ·MATT DEPERNO:· And this is the total number
10· ·of votes cast by machine on November 3rd --
11· · · · ·MIKE LINDELL:· Right.
12· · · · ·MATT DEPERNO:· -- 16,047.· Now, of course,
13· ·not everyone votes for the President.
14· · · · ·MIKE LINDELL:· Right.
15· · · · ·MATT DEPERNO:· That's why there's going to
16· ·be some disparity.
17· · · · ·MIKE LINDELL:· Right.
18· · · · ·MATT DEPERNO:· But you see what happened in
19· ·Antrim County on November 3rd, there were 16,047
20· ·votes cast --
21· · · · ·MIKE LINDELL:· Right.
22· · · · ·MATT DEPERNO:· -- and then on November 5th,
23· ·when they did a recount, somehow they gained 2,000
24· ·more votes.
25· · · · ·MIKE LINDELL:· Wow.


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 93 of 140
                                                                       92

·1· · · · ·MATT DEPERNO:· And we haven't gotten an
·2· ·explanation as to why --
·3· · · · ·MIKE LINDELL:· Right.
·4· · · · ·MATT DEPERNO:· -- that happened.
·5· · · · ·MIKE LINDELL:· But -- but we do have a --
·6· ·but we do know that there was 7,000 -- if you
·7· ·were -- if you were to say right now and go, you
·8· ·know what, we do know that 7,060 -- Donald Trump
·9· ·had 7,060 more votes net out of this county?
10· · · · ·MATT DEPERNO:· That's correct.
11· · · · ·MIKE LINDELL:· That's 100 percent fact.
12· · · · ·MATT DEPERNO:· 100 percent fact.
13· · · · ·MIKE LINDELL:· 100 percent fact.
14· · · · ·MATT DEPERNO:· So after we filed the
15· ·lawsuit, we -- we -- we -- at the same time we
16· ·filed the lawsuit, we also filed a motion with the
17· ·court asking the Judge to allow us to take
18· ·forensic images of the Dominion system, the
19· ·Dominion Voting System; and -- and he granted
20· ·that.
21· · · · ·And we then went in -- and I believe it was
22· ·December 6th --
23· · · · ·MIKE LINDELL:· Right.
24· · · · ·MATT DEPERNO:· -- and with a team of
25· ·forensic scientists and data collection


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 94 of 140
                                                                       93

·1· ·scientists, we -- we captured the forensic images
·2· ·of the Dominion Voting System, the master
·3· ·tabulator, is what we call it, sitting in the
·4· ·county building, along with all of the CF cards,
·5· ·which are the program cards that run the actual
·6· ·software, along with the actual data cards or
·7· ·thumb drives that collect and tally the results in
·8· ·each precinct.
·9· · · · ·We captured the forensic images of all of
10· ·those items.
11· · · · ·MIKE LINDELL:· Okay.· I want to -- I want
12· ·to say something there:· So the people -- did you
13· ·hire these people to do that?
14· · · · ·MATT DEPERNO:· Correct.
15· · · · ·MIKE LINDELL:· Okay.· Were they -- and you
16· ·didn't know them before this, right.
17· · · · ·MATT DEPERNO:· We didn't know them
18· ·before --
19· · · · ·MIKE LINDELL:· Right.
20· · · · ·MATT DEPERNO:· -- but the people got us in
21· ·contact with them --
22· · · · ·MIKE LINDELL:· Contact with -- with
23· ·forensic experts on these particular machines?
24· · · · ·MATT DEPERNO:· That's correct.
25· · · · ·MIKE LINDELL:· And so -- so that's -- I


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 95 of 140
                                                                       94

·1· ·just want everyone to know that.· This wasn't just
·2· ·some -- you know, hey, let's grab somebody from
·3· ·the county and look at these machines.· These were
·4· ·experts.
·5· · · · ·MATT DEPERNO:· These are people with real
·6· ·experience analyzing forensic software images.
·7· · · · ·MIKE LINDELL:· Wow.
·8· · · · ·MATT DEPERNO:· It can't be overstated
·9· ·enough that these -- these scientists were also
10· ·data collection experts.
11· · · · ·And that's important because what we saw in
12· ·Antrim County is the failure to properly follow
13· ·procedures in securing the election machines, the
14· ·tabulation machines, and securely transferring the
15· ·votes.
16· · · · ·The chain of custody in this situation was
17· ·completely tampered with.
18· · · · ·What we know for certain is that in the
19· ·Dominion system manual, the manual tells us
20· ·exactly how to connect the machines to the
21· ·Internet.· The manual tells you how to do that.
22· · · · ·MIKE LINDELL:· Is it easy?
23· · · · ·MATT DEPERNO:· It's very easy.
24· · · · ·MIKE LINDELL:· Could a guy like me plug it
25· ·in?


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 96 of 140
                                                                       95

·1· · · · ·MATT DEPERNO:· I'm -- I'm certain you could
·2· ·probably figure it out.
·3· · · · ·MIKE LINDELL:· Wow.
·4· · · · ·MATT DEPERNO:· But you can -- the manual
·5· ·tells how you to connect the machine --
·6· · · · ·MIKE LINDELL:· Right.· Right.
·7· · · · ·MATT DEPERNO:· -- to the Internet.
·8· · · · ·MIKE LINDELL:· Right.
·9· · · · ·MATT DEPERNO:· In our case, what we found
10· ·through the forensic study that was conducted was
11· ·that on November 4th, at 11:03 p.m., system files,
12· ·adjudication files, and other source system files
13· ·were deleted from the Dominion system in Antrim
14· ·County.· We know that for a fact.
15· · · · ·MIKE LINDELL:· Wow.
16· · · · ·MATT DEPERNO:· They were removed.· We don't
17· ·know who removed them, or how they gained access
18· ·to remove them.
19· · · · ·MIKE LINDELL:· Okay.· Hold on --
20· · · · ·(Talking simultaneously.)
21· · · · ·MIKE LINDELL:· -- we do know.· You'll see
22· ·that later in the show.
23· · · · ·MATT DEPERNO:· What we know in our case --
24· ·what we -- in our case we don't know precisely,
25· ·because Antrim County and the Secretary of State


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 97 of 140
                                                                       96

·1· ·have not given us that information.
·2· · · · ·MIKE LINDELL:· Right.· Right.
·3· · · · ·MATT DEPERNO:· But we do know that those
·4· ·files were removed on November 4th at 11:03 p.m.
·5· · · · ·MIKE LINDELL:· What's the significance of
·6· ·that that they were removed; what does that do to
·7· ·you as a -- as trying to investigate this, what
·8· ·did that do?
·9· · · · ·MATT DEPERNO:· Well, number one, I
10· ·presume -- and we've asked the Antrim County
11· ·prosecutor to investigate, whether that was a
12· ·crime to remove voting information from the system
13· ·prior to the expiration of a 22-month period --
14· · · · ·MIKE LINDELL:· Right.
15· · · · ·MATT DEPERNO:· -- which the -- the items
16· ·are required to (inaudible) --
17· · · · ·(Talking simultaneously.)
18· · · · ·MIKE LINDELL:· But when -- when that's
19· ·removed, what -- that means it was hard for you to
20· ·do your audit?
21· · · · ·MATT DEPERNO:· That's hard for us to review
22· ·the forensic images to conclusively understand --
23· · · · ·MIKE LINDELL:· Right.
24· · · · ·MATT DEPERNO:· -- whether the machine
25· ·connected to the Internet -- because in Michigan,


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 98 of 140
                                                                       97

·1· ·at least 38 other counties use the Dominion
·2· ·software.
·3· · · · ·MIKE LINDELL:· Right.
·4· · · · ·MATT DEPERNO:· So if this is happening in
·5· ·Antrim County, and it was exposed in Antrim
·6· ·County --
·7· · · · ·MIKE LINDELL:· Right.
·8· · · · ·MATT DEPERNO:· -- because of the disparity,
·9· ·because there were only 15,718 --
10· · · · ·MIKE LINDELL:· Right.
11· · · · ·MATT DEPERNO:· -- votes --
12· · · · ·(Talking simultaneously.)
13· · · · ·MIKE LINDELL:· You wouldn't --
14· · · · ·MATT DEPERNO:· -- cast --
15· · · · ·MIKE LINDELL:· You wouldn't notice this in
16· ·a bigger city if it was that low a number.
17· · · · ·MATT DEPERNO:· Correct.
18· · · · ·MIKE LINDELL:· Right.
19· · · · ·MATT DEPERNO:· If you were in Wayne County
20· ·and --
21· · · · ·MIKE LINDELL:· Right.
22· · · · ·MATT DEPERNO:· -- and 7,060 votes flipped,
23· ·you wouldn't notice it.
24· · · · ·My team of forensic scientists worked
25· ·tirelessly after December 6th, after we collected


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  Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 99 of 140
                                                                       98

·1· ·the forensic images for about a week, they worked
·2· ·very hard to review those images and put together
·3· ·a report.
·4· · · · ·And because of a protective order that was
·5· ·in place in this case, I had to file a motion with
·6· ·the court asking the Judge to allow us to release
·7· ·the -- the report that we had prepared.
·8· · · · ·And we did that.· We did that on December
·9· ·14th, the Judge granted our request and allowed us
10· ·to release what's called the Allied Security
11· ·Operations Group Preliminary Summary, Version 2,
12· ·dated December 13th, 20-(inaudible) --
13· · · · ·MIKE LINDELL:· Now, is that public?· Is
14· ·that public?
15· · · · ·MATT DEPERNO:· It is public.
16· · · · ·MIKE LINDELL:· Right.· So -- so this is
17· ·something that got put out there -- and I
18· ·guarantee you, it was probably put out there --
19· ·heck, somebody probably put it on their Twitter
20· ·and -- I'll bet you it was gone -- you know, they
21· ·probably tried to -- that's just my opinion.               I
22· ·had to throw that in there.
23· · · · ·MATT DEPERNO:· Well, I can tell you it's
24· ·been on my website at Depernolaw.com, since
25· ·December 14th, and it has constantly been


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 100 of 140
                                                                       99

·1· ·suppressed for people who try to share the link on
·2· ·Facebook --
·3· · · · ·MIKE LINDELL:· Right.
·4· · · · ·MATT DEPERNO:· -- or Google or through
·5· ·social media, it gets suppressed --
·6· · · · ·MIKE LINDELL:· Right.
·7· · · · ·MATT DEPERNO:· -- and people are not
·8· ·allowed to share it.
·9· · · · ·MIKE LINDELL:· Right.
10· · · · ·MATT DEPERNO:· In some cases they try to
11· ·share it, and a screen comes up that says that --
12· ·that this information is not --
13· · · · ·(Talking simultaneously.)
14· · · · ·MIKE LINDELL:· Right.· Not (inaudible) --
15· · · · ·MATT DEPERNO:· -- assessable.
16· · · · ·MIKE LINDELL:· Here you had a -- a -- a
17· ·perfect report -- I mean, that even the Judge said
18· ·you could put it out there, correct?
19· · · · ·MATT DEPERNO:· Yes.· Everything we've done
20· ·in this case had been permitted by the court in
21· ·terms of the ability to release information --
22· · · · ·MIKE LINDELL:· Right.
23· · · · ·DR. SHIVA AYYADURAI:· -- but what it is --
24· ·actually, it's information that if revealed, would
25· ·show that the CEO of Dominion software, when he


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 101 of 140
                                                                       100

·1· ·testified in front of the Michigan Senate, this
·2· ·information would show that he was not telling the
·3· ·truth about how the Dominion system works.
·4· · · · ·MIKE LINDELL:· Wow.
·5· · · · ·MATT DEPERNO:· And here's what we
·6· ·concluded --
·7· · · · ·MIKE LINDELL:· Wow.
·8· · · · ·MATT DEPERNO:· -- when we released the
·9· ·report, this is what it states:· We conclude that
10· ·the Dominion Voting System is intentionally and
11· ·purposefully designed with inherent errors to
12· ·create systemic fraud and influence election
13· ·results.
14· · · · ·Now, that's not my words.· That's the words
15· ·of the forensic team --
16· · · · ·MIKE LINDELL:· That looked at this?
17· · · · ·MATT DEPERNO:· -- that looked at the
18· ·forensic images and came to a conclusion about
19· ·what they saw.
20· · · · ·MIKE LINDELL:· Right.· So that --
21· · · · ·(Talking simultaneously.)
22· · · · ·MATT DEPERNO:· (Inaudible) that's in the
23· ·report.
24· · · · ·MIKE LINDELL:· They concluded that the only
25· ·reason you would have a machine like this is if


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 102 of 140
                                                                       101

·1· ·you wanted to steal an election?
·2· · · · ·MATT DEPERNO:· Correct.· Because what they
·3· ·also found is that this machine in Antrim County
·4· ·generates errors at the rate of 68 percent based
·5· ·on ballots that you put in the machine.· Remember
·6· ·this --
·7· · · · ·MIKE LINDELL:· Right.
·8· · · · ·MATT DEPERNO:· -- when you take a piece of
·9· ·paper and you vote on it, you think when you're
10· ·voting that you're tallying your vote, and then
11· ·you put that machine -- that piece of paper into
12· ·the Dominion tabulation machine.
13· · · · ·MIKE LINDELL:· Right.· Right.
14· · · · ·MATT DEPERNO:· You know how that process
15· ·works.
16· · · · ·MIKE LINDELL:· Yeah.
17· · · · ·MATT DEPERNO:· And you think you voted, but
18· ·you haven't voted yet.· You haven't voted until
19· ·that machine actually tabulates your result in the
20· ·system.
21· · · · ·When you put the paper in the tabulator --
22· · · · ·MIKE LINDELL:· Right.
23· · · · ·MATT DEPERNO:· -- the tabulator takes that
24· ·paper, converts it to data, and data can be
25· ·manipulated.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 103 of 140
                                                                       102

·1· · · · ·In the case of the way the Dominion system
·2· ·works, as I understand it, based on information
·3· ·given to me by my forensic team, when you insert
·4· ·that paper ballot --
·5· · · · ·MIKE LINDELL:· Right.
·6· · · · ·MATT DEPERNO:· -- in the machine --
·7· · · · ·MIKE LINDELL:· Right.
·8· · · · ·MATT DEPERNO:· -- and when an error is
·9· ·tabulated --
10· · · · ·MIKE LINDELL:· Right.
11· · · · ·MATT DEPERNO:· -- and remember, this
12· ·machine tabulates them at 68 percent error rate.
13· · · · ·MIKE LINDELL:· Right.· Wow.
14· · · · ·MATT DEPERNO:· Those ballots -- those error
15· ·ballots go to what's called adjudication.
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·MATT DEPERNO:· Adjudication is a process
18· ·where someone else, other than the voter, is able
19· ·to look at that ballot on a screen --
20· · · · ·MIKE LINDELL:· Right.
21· · · · ·MATT DEPERNO:· -- and determine the voter's
22· ·intent and vote that ballot for the voter.
23· · · · ·MIKE LINDELL:· Right.
24· · · · ·MATT DEPERNO:· And in -- and with
25· ·adjudication, in the way that Dominion system


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                               866-339-2608                                  YVer1f
 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 104 of 140
                                                                       103

·1· ·works, you can accumulate over the night a number
·2· ·of ballots --
·3· · · · ·MIKE LINDELL:· Yeah.
·4· · · · ·MATT DEPERNO:· -- but what I can tell you,
·5· ·what's interesting, is the 2020 system log files
·6· ·are missing; but they are present for 2018 and
·7· ·2016.
·8· · · · ·This happened at 11:03 p.m. on November
·9· ·4th.
10· · · · ·What happened on November 4th, the day
11· ·after the election --
12· · · · ·MIKE LINDELL:· Right.
13· · · · ·MATT DEPERNO:· -- is that at least in
14· ·Michigan this story broke across the state --
15· · · · ·MIKE LINDELL:· Right.
16· · · · ·MATT DEPERNO:· -- that Antrim County had
17· ·flipped in this manner.
18· · · · ·MIKE LINDELL:· Okay.· So it was such a
19· ·deviation -- everybody hear that?
20· · · · ·That's why we all heard about Antrim
21· ·County, it was such a big deviation, it would be
22· ·like -- you know, the whole time -- you know, for
23· ·decades or years or whatever, you're -- you're 65
24· ·percent Republican, and 35 percent, and you flip;
25· ·the whole townspeople are probably having coffee


                            U.S. LEGAL SUPPORT
                               866-339-2608                                  YVer1f
 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 105 of 140
                                                                       104

·1· ·going, what did you do?· They probably did a
·2· ·recount just themselves at the coffee shops, you
·3· ·know?
·4· · · · ·So now that makes sense.· That's why it
·5· ·made national -- it made national news.· We all
·6· ·heard about it.
·7· · · · ·MATT DEPERNO:· Antrim County was not
·8· ·certifiable based on what the machine spit out on
·9· ·election night.· And what we've requested is a
10· ·full audit of the county.· Well, we want all the
11· ·machines tested, we would like to see all the
12· ·machines tested across the state.
13· · · · ·MIKE LINDELL:· Right.
14· · · · ·MATT DEPERNO:· We would like to see audits
15· ·across the state of Michigan.
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·MATT DEPERNO:· This is from the actual
18· ·Dominion manual.· This --
19· · · · ·MIKE LINDELL:· The Dominion manual.· Wow.
20· · · · ·MATT DEPERNO:· This tells you --
21· · · · ·MIKE LINDELL:· Yeah.
22· · · · ·MATT DEPERNO:· -- how to connect the
23· ·machine to -- guess what?
24· · · · ·MIKE LINDELL:· The Internet.
25· · · · ·MATT DEPERNO:· Yes.


                            U.S. LEGAL SUPPORT
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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 106 of 140
                                                                       105

·1· · · · ·MIKE LINDELL:· Did everybody hear that?
·2· · · · ·MATT DEPERNO:· This is another slide --
·3· · · · ·MIKE LINDELL:· But you have to be on the
·4· ·Internet in order to do this.
·5· · · · ·So we're going to show you here.· I thought
·6· ·these machines didn't go on the Internet, that's
·7· ·what we were told as the public.
·8· · · · ·MATT DEPERNO:· That's what we are told.
·9· · · · ·SPEAKER: (Inaudible) if it's (inaudible)
10· ·print automatically, it will print anywhere from
11· ·one to, you know, five-ten copies, however many
12· ·are needed in -- in the jurisdiction; as well,
13· ·this device can transmit directly.
14· · · · ·So that's all part of that closed polls
15· ·process.· You hit that button once, it prints out
16· ·the tapes.· When it's done printing out the tapes,
17· ·it will automatically transmit the results as
18· ·well.
19· · · · ·SPEAKER:· What is the vehicle for the
20· ·transmission from the ICP, is it cellular, modem
21· ·versus VPN?
22· · · · ·SPEAKER:· Well, it -- it is a cellular
23· ·modem that it can be configured in a VPN, right;
24· ·and we -- currently in (inaudible) Cook County we
25· ·worked with Verizon to secure that network, so we


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 107 of 140
                                                                       106

·1· ·would have the same capabilities here.
·2· · · · ·SPEAKER:· What wireless chips (inaudible)
·3· ·slash modem does that hardware have?
·4· · · · ·SPEAKER:· We support a variety.· So it's
·5· ·really up to the jurisdictions, what technology
·6· ·they want to use, what's compatible with their --
·7· ·with their networks.
·8· · · · ·SPEAKER: (Inaudible) some jurisdictions we
·9· ·use (inaudible) basically a modem that is a 3G
10· ·modem, GSM; but we can support multiple varieties
11· ·of modems (inaudible) --
12· · · · ·SPEAKER:· Including -- including the latest
13· ·(inaudible) standards as well.
14· · · · ·SPEAKER:· Okay.
15· · · · ·SPEAKER:· So that answers the next
16· ·question, is it 3G or 4G, Verizon, AT&T
17· ·(inaudible) --
18· · · · ·SPEAKER:· Oh, yeah.· All -- all networks.
19· ·We have quite a few (inaudible) --
20· · · · ·(Talking simultaneously.)
21· · · · ·SPEAKER: (Inaudible).
22· · · · ·SPEAKER:· Yeah.· I mean, we actually
23· ·transmit from the ICP in Mongolia as well; so
24· ·we're not limited in networks.
25· · · · ·SPEAKER: (Inaudible) there's three vendors,


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 108 of 140
                                                                       107

·1· ·because the island is not covered by any -- by any
·2· ·of the vendors completely; so we use three
·3· ·different cellular vendors for some ICPs with
·4· ·vendor (inaudible) AT&T, and T-Mobile, I think, in
·5· ·the different parts of the island.· So --
·6· · · · ·SPEAKER:· Everything gets complicated.
·7
·8· · · · ·DR. SHIVA AYYADURAI:· But this is another
·9· ·slide from the --
10· · · · ·MIKE LINDELL:· Right.
11· · · · ·MATT DEPERNO:· -- Dominion software
12· ·manual --
13· · · · ·MIKE LINDELL:· Right.
14· · · · ·MATT DEPERNO:· -- that tells you exactly
15· ·how to set up your system to connect to the
16· ·Internet.
17· · · · ·MIKE LINDELL:· Uh-huh.
18· · · · ·MATT DEPERNO:· Those are important slides
19· ·to see.
20· · · · ·But again, another slide from Dominion
21· ·Voting ImageCast Central, which tells you, as you
22· ·can see in the bottom corner here, it says
23· ·number -- box number one, ensure that the
24· ·workstation is connected to the network switch
25· ·with an Ethernet cable.


                            U.S. LEGAL SUPPORT
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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 109 of 140
                                                                       108

·1· · · · ·MIKE LINDELL:· Wow.
·2· · · · ·MATT DEPERNO:· What does an Ethernet cable
·3· ·get you?· To the Internet.
·4· · · · ·MIKE LINDELL:· To the Internet.
·5· · · · ·MATT DEPERNO:· These are -- this is all
·6· ·information that we have been able to look at --
·7· · · · ·MIKE LINDELL:· Right.
·8· · · · ·MATT DEPERNO:· -- from the actual manual.
·9· · · · ·MIKE LINDELL:· So what do we got here?
10· ·That looks like it was manipulated.
11· · · · ·MATT DEPERNO:· Well, this --
12· · · · ·MIKE LINDELL:· What?
13· · · · ·MATT DEPERNO:· This -- these spikes --
14· ·these blue spikes throughout this show you where
15· ·Joe Biden got -- what we call injections of --
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·MATT DEPERNO:· -- of votes at very specific
18· ·times --
19· · · · ·MIKE LINDELL:· Right.
20· · · · ·MATT DEPERNO:· -- these -- these big ones
21· ·on the left are November --
22· · · · ·MIKE LINDELL:· Right.
23· · · · ·MATT DEPERNO:· -- 3rd, so I would be
24· ·curious to see if your data that you have --
25· · · · ·MIKE LINDELL:· Yeah.· Right.· It will.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 110 of 140
                                                                       109

·1· · · · ·MATT DEPERNO:· -- correlates to the --
·2· · · · ·(Talking simultaneously.)
·3· · · · ·MIKE LINDELL:· Just so everybody knows,
·4· ·what you're going to see, when you see this spike,
·5· ·you're going to see a forensic footprint how that
·6· ·happened and who did it.
·7· · · · ·China, yes.· If you're on the Internet, the
·8· ·bottom line is, you can get -- you can cheat, you
·9· ·can do all kinds of things; and that's -- because
10· ·otherwise you can't explain any of these numbers,
11· ·right?
12· · · · ·MATT DEPERNO:· That's correct.
13· · · · ·MIKE LINDELL:· That's correct.
14· · · · ·DR. SHIVA AYYADURAI:· You -- the machine
15· ·results don't match up with the hand --
16· · · · ·MIKE LINDELL:· To the real balance --
17· · · · ·MATT DEPERNO:· -- (inaudible).
18· · · · ·MIKE LINDELL:· And once again, the -- you
19· ·know, the purpose of this whole show, obviously,
20· ·is to show everyone in the world that these
21· ·machines -- that this was the biggest fraud -- the
22· ·biggest crime, I believe, against humanity.· This
23· ·is a crime against humanity.· If we wouldn't be
24· ·all talking about this now and this is -- all the
25· ·truth is going to be revealed --


                            U.S. LEGAL SUPPORT
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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 111 of 140
                                                                       110

·1· · · · ·MATT DEPERNO:· Michigan is under siege
·2· ·because this is what I am dealing with right now.
·3· ·Dana Nessel is the Attorney General in the State
·4· ·of Michigan.· She sent this tweet out not too long
·5· ·ago, and it says:· Fun fact, lawyers who practice
·6· ·in Michigan are required to take an oath to
·7· ·support the Michigan and U.S. constitutions; not
·8· ·to file unjust and/or frivolous actions or mislead
·9· ·the court.· The spate of Trump lawsuits in our
10· ·state violates each of these tenants.· It demeans
11· ·our profession.
12· · · · ·MIKE LINDELL:· Wow.
13· · · · ·MATT DEPERNO:· What's she's calling for --
14· ·and she said this publicly, she's calling for
15· ·attorneys in Michigan to be disbarred who file
16· ·lawsuits in Michigan challenging --
17· · · · ·MIKE LINDELL:· This election --
18· · · · ·MATT DEPERNO:· -- the results of the
19· ·election.
20· · · · ·MIKE LINDELL:· Can you guys all hear this?
21· ·This is what we're up against.· This Dominion,
22· ·these machines, is the biggest fraud in
23· ·election -- they stole this; but now the truth is
24· ·all going to be revealed.· People like this lady,
25· ·what's her name, Dana --


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 112 of 140
                                                                       111

·1· · · · ·MATT DEPERNO:· Dana Nessel.
·2· · · · ·MIKE LINDELL:· Dana Nessel -- and -- Dana
·3· ·Nessel, how dare you put this out?· You're
·4· ·supposed to protect Michigan and the U.S.· This is
·5· ·what I'm doing.· This is why I'm getting attacked.
·6· ·This is why everybody is getting attacked.
·7· · · · ·MATT DEPERNO:· So --
·8· · · · ·MIKE LINDELL:· Did anybody -- you know,
·9· ·here you are, the attorney of -- one of the few
10· ·open cases where we have 100 percent proof, first
11· ·they try and suppress the actual report from it,
12· ·right here, right?· And now --
13· · · · ·(Talking simultaneously.)
14· · · · ·DR. SHIVA AYYADURAI:· And now --
15· · · · ·MIKE LINDELL:· -- now they're trying to
16· ·just get rid of you.
17· · · · ·MATT DEPERNO:· That's true.· So we have
18· ·Michigan executive officials who are now using the
19· ·power of government to threaten those with whom
20· ·they disagree with sanctions, they're threatening
21· ·me and others with disbarment.
22· · · · ·MIKE LINDELL:· Wow.
23· · · · ·MATT DEPERNO:· So bringing forth evidence
24· ·now --
25· · · · ·MIKE LINDELL:· Uh-huh.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 113 of 140
                                                                       112

·1· · · · ·MATT DEPERNO:· -- in our country, not only
·2· ·gets you the mockery of the main stream media --
·3· · · · ·MIKE LINDELL:· I've been there.
·4· · · · ·MATT DEPERNO:· -- who refuse to actually
·5· ·report on it or the truth, but it now gets you
·6· ·ethics complaints filed against you if you are a
·7· ·lawyer.
·8· · · · ·MIKE LINDELL:· Wow.
·9· · · · ·MATT DEPERNO:· So what do we do about that?
10· ·When the Michigan Attorney General, who is the
11· ·chief law enforcement person in the State,
12· ·threatens those with whom she disagrees, you know
13· ·what that is?· That's tyranny.
14· · · · ·MIKE LINDELL:· Yep.
15· · · · ·MATT DEPERNO:· That -- you know, that is
16· ·totalitarianism.
17· · · · ·MIKE LINDELL:· Right.
18· · · · ·MATT DEPERNO:· So in our election system,
19· ·and it's been going on for years after every
20· ·election, people challenge elections.
21· · · · ·MIKE LINDELL:· Right.
22· · · · ·MATT DEPERNO:· That happens on a regular
23· ·basis.
24· · · · ·MIKE LINDELL:· Right.· Yeah.· Yeah.
25· · · · ·MATT DEPERNO:· That's part of our republic.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 114 of 140
                                                                       113

·1· ·That's part of public discourse.· We're in --
·2· ·we're enabled to go in and have those discussions
·3· ·through the court system to challenge elections.
·4· · · · ·And what Dana Nessel is saying, is that you
·5· ·can't do that anymore --
·6· · · · ·MIKE LINDELL:· Right.
·7· · · · ·MATT DEPERNO:· -- because if you try to do
·8· ·it, she will threaten you, she will try to take
·9· ·your license --
10· · · · ·MIKE LINDELL:· Uh-huh.
11· · · · ·MATT DEPERNO:· -- and she will try to
12· ·silence you.
13· · · · ·MIKE LINDELL:· Wow.
14· · · · ·MATT DEPERNO:· So her statements, this is
15· ·no longer part of public discourse, this is
16· ·chilling --
17· · · · ·MIKE LINDELL:· Do you think she's talking
18· ·about all the lawyers?· She's talking about you.
19· · · · ·MATT DEPERNO:· Well, we've talked about
20· ·that.· I agree -- I totally agree with you; she is
21· ·talking about me.
22· · · · ·MIKE LINDELL:· Right.
23· · · · ·MATT DEPERNO:· And we've talked about the
24· ·importance of public discourse.
25· · · · ·MIKE LINDELL:· Right.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 115 of 140
                                                                       114

·1· · · · ·MATT DEPERNO:· Her tweet -- as I said --
·2· ·chills public discourse.
·3· · · · ·MIKE LINDELL:· Yeah.
·4· · · · ·MATT DEPERNO:· What it does is it asks a
·5· ·lawyer to put their fear above the representation
·6· ·of their client in legitimate litigation.
·7· · · · ·MIKE LINDELL:· Right.
·8· · · · ·MATT DEPERNO:· That is tyranny.
·9· · · · ·MIKE LINDELL:· That right.
10· · · · ·MATT DEPERNO:· That's totalitarianism.
11· ·That is --
12· · · · ·MIKE LINDELL:· Right.
13· · · · ·MATT DEPERNO:· -- that is fascism.
14· · · · ·MIKE LINDELL:· She wants to scare you into
15· ·doing nothing?
16· · · · ·MATT DEPERNO:· But it gets worse.
17· · · · ·MIKE LINDELL:· Right.
18· · · · ·MATT DEPERNO:· Around November 20th, Dana
19· ·Nessel did an interview with the Washington Post
20· ·and in that interview she threatened every
21· ·Michigan legislature, and she said that any
22· ·Michigan legislature with whom she disagreed with,
23· ·any of them who challenged these election results,
24· ·she would investigate them and seek criminal
25· ·sanctions against them.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 116 of 140
                                                                       115

·1· · · · ·MIKE LINDELL:· Wow.
·2· · · · ·MATT DEPERNO:· That is saying to these
·3· ·Michigan legislatures that if they --
·4· · · · ·MIKE LINDELL:· Stay silent --
·5· · · · ·MATT DEPERNO:· -- if they do anything to
·6· ·bring forth the word of their constituents to
·7· ·challenge election results, they could be charged
·8· ·criminally.· It's --
·9· · · · ·MIKE LINDELL:· Wow.
10· · · · ·MATT DEPERNO:· -- asking elected officials
11· ·again to put their fear above the word and the
12· ·choice of their constituents.
13· · · · ·MIKE LINDELL:· Wow.
14· · · · ·MATT DEPERNO:· And you ask yourself, why
15· ·did so many elected officials in Michigan refuse
16· ·to look at the evidence that was presented to
17· ·them?
18· · · · ·MIKE LINDELL:· They did it out of fear.
19· · · · ·MATT DEPERNO:· Or time and time again
20· ·say --
21· · · · ·MIKE LINDELL:· Uh-huh.
22· · · · ·MATT DEPERNO:· -- that they haven't seen
23· ·any evidence --
24· · · · ·MIKE LINDELL:· Right.
25· · · · ·MATT DEPERNO:· -- of voter fraud --


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 117 of 140
                                                                       116

·1· · · · ·MIKE LINDELL:· Right.
·2· · · · ·MATT DEPERNO:· -- or vote interference.
·3· · · · ·MIKE LINDELL:· Right.
·4· · · · ·MATT DEPERNO:· And you combine that with
·5· ·what we have now learned about the interview Dana
·6· ·Nessel gave --
·7· · · · ·MIKE LINDELL:· Right.
·8· · · · ·MATT DEPERNO:· -- on November 21st, telling
·9· ·elected officials they would be charged
10· ·criminally.
11· · · · ·MIKE LINDELL:· Right.
12· · · · ·MATT DEPERNO:· And I say this, right now,
13· ·everything that Dana Nessel has done in terms of
14· ·threatening me, and threatening state
15· ·legislatures, violates the Michigan rules of
16· ·professional conduct, and she should resign
17· ·immediately.· It demonstrates that she's not fit
18· ·for office.
19· · · · ·MIKE LINDELL:· Well, there's many like her.
20· ·We know that.· This is going to reveal all the
21· ·evil in our county, all the criminals in the
22· ·country, all the ones that tried to suppress this.
23· ·And that's from social media, like Jack Dorsey,
24· ·like Mark Suck-a-buck.· (Phonetic).
25· · · · ·Well, everyone, this is the moment you've


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 118 of 140
                                                                       117

·1· ·all been waiting for.· What you're going to see
·2· ·now is 100 percent proof that we had upon our
·3· ·country the biggest cyber attract in history.
·4· · · · ·And I'm going to bring on Mary Fanning to
·5· ·explain how it all happened, and the -- show you
·6· ·the 100 percent proof.
·7· · · · ·Mary, thanks for coming on.
·8· · · · ·MARY FANNING:· Thanks, Mike.
·9· · · · ·Today we've been watching cybersecurity
10· ·experts and they've explained some of the things
11· ·that happened in the election, some of the
12· ·election fraud.
13· · · · ·But what we're seeing here is -- if you
14· ·look at this chart, is that they were
15· ·cybersecurity experts who began collecting
16· ·information on November 1st, and -- so this was
17· ·before, during and after the election, that they
18· ·were collecting documentation.
19· · · · ·In fact, they collected terabytes of
20· ·information that document the election fraud
21· ·before an intrusion into our election.
22· · · · ·This was collected as -- in 2995 counties
23· ·in the United States.· This was collected in
24· ·realtime.· All right.· So if you go to the chart,
25· ·what you will see is the documentation of foreign


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 119 of 140
                                                                       118

·1· ·interference in the election.
·2· · · · ·The first column, if you look at the chart,
·3· ·that shows that on 11/5/2020, at 7:43:38, we had a
·4· ·foreign intrusion.· And it shows that the IP
·5· ·address, the Internet protocol address.· That is
·6· ·the number of that protocol address of the hacker
·7· ·that entered into our election.
·8· · · · ·The second column is the owner or source of
·9· ·that IP address.· That shows that China Net in
10· ·Beijing province, entered the election.· It shows
11· ·an ID, that is a unique address of a computer.
12· ·That shows the exact computer using that IP source
13· ·that entered into our election.
14· · · · ·The next is the target.· That's the IP
15· ·target.· That's the Internet protocol address of
16· ·the target.· All right.· And the next is the
17· ·target state.· In this case it shows that it's
18· ·Michigan.
19· · · · ·Where in Michigan?· That's the next column.
20· ·It shows that it's in Emmet County, Michigan.
21· · · · ·Then the ID target.· That is the unique
22· ·address of another computer in the United States
23· ·that the hacker has gone into.· And then it shows
24· ·the method of intrusion.
25· · · · ·Now, on some cases you're going to see that


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 120 of 140
                                                                       119

·1· ·they used credentials, that means that they have
·2· ·fake credentials, because they were administrators
·3· ·that have been placed on the Secretary of State's
·4· ·computers.· False administrators.
·5· · · · ·In other cases, it shows that they broke
·6· ·through the firewall.· In some cases they did
·7· ·both.
·8· · · · ·Now, in the next column it shows whether it
·9· ·was successful.· You're see a Y; that shows that,
10· ·yes, it was successful.
11· · · · ·Now, oftentimes they're not successful and
12· ·they have to go back and try for another
13· ·intrusion, and then it shows whether that's, in
14· ·fact, successful as well.
15· · · · ·And then in the final column, what you're
16· ·seeing are votes changed.· Now, in this particular
17· ·case, when they went into Emmet County, Michigan,
18· ·the votes that were changed was they stole 3477
19· ·votes from Donald Trump.· That's what you're
20· ·looking at.
21· · · · ·Now, as you go through this document and
22· ·you look at all the multiple intrusions into our
23· ·election, what -- what you'll notice that over 60
24· ·percent of these intrusions come from China.
25· · · · ·So that is over 66 percent is what the


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 121 of 140
                                                                       120

·1· ·number is, over 66 percent of the intrusions into
·2· ·our election came from China.
·3· · · · ·Why is this important?· Well, some things
·4· ·were set in place, including some of the changes
·5· ·that took place in this country, particularly when
·6· ·we had the Wuhan virus or the Covid-19 virus hit
·7· ·this country.
·8· · · · ·And we have a video -- well, first, Mike,
·9· ·do you have any questions about this chart and
10· ·what it is showing?
11· · · · ·MIKE LINDELL:· Yeah.· So what -- so what
12· ·you have here is, what -- each one of these is its
13· ·own timestamp that is 100 percent proof, because
14· ·you have that -- not only where it came from, you
15· ·have -- it's basically you have their
16· ·identification, you have the -- who they were
17· ·attacking, their identification; this is what
18· ·everybody would want -- if you ever looked and did
19· ·an auditor -- wanted to look into a computer and
20· ·look what went on in cyberspace, this is what you
21· ·would be looking for, correct?
22· · · · ·MARY FANNING:· This is forensic evidence of
23· ·foreign footprints as they entered our election
24· ·and in a cyber warfare attack on our election.
25· ·And then it shows exactly what they -- you know,


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 122 of 140
                                                                       121

·1· ·where did they come from, which computer exactly,
·2· ·exactly the timestamp, exactly which computer they
·3· ·entered into, and -- and what state, which county.
·4· ·The -- the ID -- the unique ID of the computer
·5· ·that they entered into.
·6· · · · ·And then it shows how they entered using
·7· ·false credentials or breaking through the firewall
·8· ·or both.
·9· · · · ·MIKE LINDELL:· Wow.
10· · · · ·MARY FANNING:· Were they successful the
11· ·first time, the second time.· And then it shows
12· ·the votes that they stole from Donald Trump.
13· · · · ·MIKE LINDELL:· Right.
14· · · · ·MARY FANNING:· This is proof positive this
15· ·is documentation of a cyber attack, but it also is
16· ·documentation of the footprints of those who
17· ·entered our election.
18· · · · ·MIKE LINDELL:· Right.· Right.· And look at
19· ·it -- if everybody notices here, everyone -- you
20· ·don't think this was all put together in one big
21· ·attack?
22· · · · ·Every one was Donald Trump down, down,
23· ·down.· This wasn't another country that wanted it
24· ·the other way.· This was a -- the biggest attack
25· ·in history.


                            U.S. LEGAL SUPPORT
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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 123 of 140
                                                                       122

·1· · · · ·And you have -- and Mary, you have -- we
·2· ·have pages and pages, right?· Thousands of these
·3· ·pages of every -- of every county, right?· Of
·4· ·every -- or of every single attack?
·5· · · · ·MARY FANNING:· There are thousands of pages
·6· ·of the documented footprints -- the foreign
·7· ·intrusion into our elections.· We see this as
·8· ·coming from China; in many cases from Huawei from
·9· ·Alabata --
10· · · · ·MIKE LINDELL:· Right.
11· · · · ·MARY FANNING:· -- Cloud service, from China
12· ·Unicom, from Ucloud, from China Mobile Tietong.
13· ·You know, and this also came and -- from Iran as
14· ·well.
15· · · · ·MIKE LINDELL:· Right.
16· · · · ·MARY FANNING:· There -- this is the foreign
17· ·intrusion, this is theft of our vote, but it also
18· ·is documenting exactly the votes -- the vote
19· ·totals that were stolen from Donald Trump.
20· · · · ·MIKE LINDELL:· Right.· And this was --
21· · · · ·(Talking simultaneously.)
22· · · · ·MARY FANNING:· And what we have heard --
23· · · · ·MIKE LINDELL:· Well, this is what I've been
24· ·telling everyone, this is where you got -- if you
25· ·add these numbers up, when I -- when I said -- and


                            U.S. LEGAL SUPPORT
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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 124 of 140
                                                                       123

·1· ·actually told the President, when I met with him,
·2· ·I said:· You know, you actually won this election
·3· ·by almost 80 million votes for you, for Donald
·4· ·Trump, to about 68 million for Biden.· And that's
·5· ·not counting all the other kind of theft we talked
·6· ·about earlier in this show.
·7· · · · ·This is their -- these are the real numbers
·8· ·that were taken off and that were flipped.              I
·9· ·mean, this is incredible, everybody.· This is --
10· ·this is historical proof, too.
11· · · · ·We not only had -- this is what we've all
12· ·been waiting for.
13· · · · ·And Mary, you said there's a video, too,
14· ·you want to show?
15· · · · ·MARY FANNING:· Yeah.· This is a
16· ·documentation, the proof positive, by cyber
17· ·experts from in this country that began
18· ·documenting the theft of our election.
19· · · · ·MIKE LINDELL:· Wow.
20· · · · ·MARY FANNING:· They put together the full
21· ·documentation of every vote, beginning on the
22· ·November 1st.
23· · · · ·So again, from before, during and after the
24· ·election, they documented the footprints of the
25· ·foreign intrusion into our election.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 125 of 140
                                                                       124

·1· · · · ·That means that foreign adversaries really,
·2· ·because this was an act of war to come in and
·3· ·steal the election from the American people, and
·4· ·decide who our foreign adversaries were going to
·5· ·put in the White House to rule or to -- to be the
·6· ·President of this country.
·7· · · · ·MIKE LINDELL:· Right.· Right.· Right.
·8· · · · ·MARY FANNING:· Now, there's a video, and so
·9· ·that will show -- and if you -- are you looking at
10· ·the video, Mike?
11· · · · ·MIKE LINDELL:· Yeah, we're pulling -- we're
12· ·going to pull up the video here, Mary.· Okay.
13· ·Here we go.· We're just pull- -- we just pulled up
14· ·the video.
15· · · · ·Wow.· What's going on here with all these
16· ·lines?
17· · · · ·MARY FANNING:· Well, you're -- the video --
18· ·what you are watching is the surveillance system.
19· ·In fact, this is the very surveillance system that
20· ·was built by people inside this country within the
21· ·cybersecurity battle space, that built some of
22· ·this document- -- built some of these tools that
23· ·were built to keep this country safe.
24· · · · ·But what you're watching is the -- every
25· ·line on that drawing, all those moving lines, they


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 126 of 140
                                                                       125

·1· ·represent the IP addresses of what I just showed
·2· ·you on the chart.
·3· · · · ·So -- so when you understand the hackers IP
·4· ·address and the IP address of the target and the
·5· ·votes that were stolen, every one of those lines
·6· ·that you're watching move across the chart, and
·7· ·showing whether they were successful and -- and
·8· ·how many votes they stole.
·9· · · · ·That documents that.· Every red line, as
10· ·they turn red, as they finish -- they'll hang the
11· ·vote, basically, the red lines are all China.
12· · · · ·So what you're seeing are the actual files
13· ·being received and sent.· That -- that's a
14· ·documentation of the realtime theft of our
15· ·elections.
16· · · · ·MIKE LINDELL:· Wow.
17· · · · ·MARY FANNING:· So every -- every line on
18· ·the map, there's a corresponding line on the
19· ·sheet.· And the color and the line types represent
20· ·the severity of the attack.
21· · · · ·Now, red has been the most severe attacks.
22· ·These lines are all coming out of China.· Those
23· ·are the most severe attacks on our election
24· ·system.
25· · · · ·MIKE LINDELL:· Wow.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 127 of 140
                                                                       126

·1· · · · ·MARY FANNING:· Now, this is -- this exact
·2· ·information, the same exact type of information, I
·3· ·should say -- was presented to FBI Director --
·4· ·former-FBI Director James Comey by a whistleblower
·5· ·in 2015.· They knew, in fact, that our election
·6· ·machines were open for hacking.
·7· · · · ·It's important to understand that there are
·8· ·prismatic scoring algorithms that they knew about,
·9· ·that entered the election, and they steal the vote
10· ·at the transcript points.
11· · · · ·So at the point where the election -- the
12· ·vote is leaving the Secretary of State's office,
13· ·and these machines, that is the point at which the
14· ·vote is stolen at the transfer points.
15· · · · ·That's what you're watching, those packets
16· ·moving is what -- is -- is that's realtime
17· ·documentation of the theft of the vote from inside
18· ·this country.· And then the number is the last
19· ·column, those documents exactly the numbers of
20· ·votes it shows.· And some of the cases, Antrim
21· ·County where the vote was stolen, and exactly the
22· ·vote stolen at the exact timestamp of when they
23· ·were stolen.
24· · · · ·MIKE LINDELL:· Right.
25· · · · ·MARY FANNING:· And the number stolen at


                            U.S. LEGAL SUPPORT
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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 128 of 140
                                                                       127

·1· ·that point.
·2· · · · ·MIKE LINDELL:· So, Mary, so what you're
·3· ·saying now is -- and this is what -- what I
·4· ·already know, but I actually am learning a lot
·5· ·here as we go, what you're saying, every one of
·6· ·these lines -- let's say we did take Antrim
·7· ·County, and we took that, we could pull out the
·8· ·timestamps for that county, and we can show the
·9· ·lines -- the country that did it, we can show a
10· ·line for every single hack or attack that we had
11· ·in this election?
12· · · · ·MARY FANNING:· That's right.
13· · · · ·MIKE LINDELL:· Wow.
14· · · · ·MARY FANNING:· So what you're watching is
15· ·those objects moving are the actual files --
16· · · · ·MIKE LINDELL:· Right.
17· · · · ·MARY FANNING:· -- that are being received
18· ·and sent.
19· · · · ·MIKE LINDELL:· These are the (inaudible) --
20· · · · ·(Talking simultaneously.)
21· · · · ·MIKE LINDELL:· -- these are the squares --
22· · · · ·MARY FANNING:· And every one of these --
23· · · · ·MIKE LINDELL:· -- here that are -- that are
24· ·being sent.
25· · · · ·So everybody out there, what you're looking


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 129 of 140
                                                                       128

·1· ·at -- I mean, this is the proof.· So if any -- if
·2· ·like Antrim County, that case is still open, you
·3· ·just go here you go.· Now you know who did it, how
·4· ·many votes flipped, when they did it, what time
·5· ·they did it, the computer it came from, the
·6· ·country that attacked us.
·7· · · · ·I mean, this is -- this is what I have been
·8· ·excited about, and I only seen one -- you know,
·9· ·Mary, I've only seen one little line of that,
10· ·which showed the IP address that -- you know, all
11· ·that stuff that you're showing us.
12· · · · ·When I found out that you --
13· · · · ·MARY FANNING:· Right.
14· · · · ·MIKE LINDELL:· -- had it for every -- or
15· ·that we had it -- with -- all these people had
16· ·this, for every single vote that -- every single
17· ·attack, and whether it was successful or not.
18· · · · ·Look at right now, we've got up on the
19· ·screen, Georgia is just getting attacked.· It was
20· ·just getting attacked up here at that moment in
21· ·time.· And I -- and I suppose, you know, they know
22· ·what they're doing, they -- they did the biggest
23· ·attack right here.
24· · · · ·Look it, everybody, Georgia and Michigan,
25· ·getting bombarded.· They -- my guess is, that was


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 130 of 140
                                                                       129

·1· ·probably like 3:00 or 4:00 in the morning when
·2· ·they really needed them votes to be flipped.
·3· · · · ·Mary, this is incredible.
·4· · · · ·MARY FANNING:· Yes.· Because there is proof
·5· ·positive, there's documentation, of all the
·6· ·foreign interference into our election showing
·7· ·exactly who stole the vote, how they stole the
·8· ·vote, from which computers, access to our
·9· ·election, to which computers they went into.
10· · · · ·So understand that cybersecurity experts
11· ·that work for this country, put all this in place
12· ·before the election even started to make sure that
13· ·they caught all of this information so that
14· ·foreign adversaries were not deciding our
15· ·elections.
16· · · · ·MIKE LINDELL:· Absolutely.· And what a
17· ·blessing that they were there for us to catch all
18· ·this and to get all this put together.· And even
19· ·to have these, you know, to be proactive -- they
20· ·were proactive, everybody.· And this is -- what a
21· ·blessing this is, because we came this close to
22· ·never knowing.· And this is actually a miracle
23· ·that we have all this, Mary.· And this is amazing.
24· · · · ·And now we have with us General McInerney,
25· ·who is going to give us a prospectus on what we


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 131 of 140
                                                                       130

·1· ·just seen.
·2· · · · ·General, thanks for coming on.
·3· · · · ·GENERAL MCINERNEY:· Well, thank you, Mike.
·4· ·And thanks for what you're doing for this great
·5· ·nation.· This is vitally important.· You have just
·6· ·seen the most massive cyber warfare attack in the
·7· ·history of mankind.
·8· · · · ·Now, the founding Fathers did not know
·9· ·anything about cyber warfare, but we do.· And
10· ·that's the important thing.· You have seen just
11· ·how it was orchestrated against our election
12· ·system.
13· · · · ·And I took an oath of office 60-some years
14· ·ago as a (inaudible) on the plains of West Point
15· ·to support and defend the Constitution of the
16· ·United States against all enemies, foreign and
17· ·domestic.
18· · · · ·We now are seeing the largest domestic
19· ·enemy we have in our history.· And people must
20· ·understand that.
21· · · · ·What happened?· You spelled it out.· It was
22· ·driven by China.· And they used a system that we
23· ·have had -- because only that system could
24· ·modulate and coordinate the many simultaneous
25· ·attacks that they used against us.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 132 of 140
                                                                       131

·1· · · · ·And why this is so important is, because
·2· ·our military, which I spent 35 years in the Air
·3· ·Force, and ended up as the number three in the air
·4· ·staff, as well as heading up Vice President Gore's
·5· ·reinventing government for the entire Department
·6· ·of Defense, those two jobs simultaneously; we now
·7· ·are faced with something our military has never
·8· ·seen before, nor have the American people.
·9· · · · ·We are going against globalists who are not
10· ·interested in America.· They are interested in us
11· ·becoming a socialist communist state.· They talk
12· ·about progressivism, but progressivism is just the
13· ·front door to communism.· They want a global
14· ·communist world.
15· · · · ·And you must understand that, America; it's
16· ·so important.· And it's so important that
17· ·President Trump, who won 79 million votes in the
18· ·election, to 68 million for Biden, because we
19· ·have -- and you have seen those exact numbers, he
20· ·dominated.
21· · · · ·It was an awesome victory.· And yet, they
22· ·turned it around -- foreigners, and we have not
23· ·had one audit.· This is the closest thing to an
24· ·audit that has been conducted in America on this
25· ·important election.


                            U.S. LEGAL SUPPORT
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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 133 of 140
                                                                       132

·1· · · · ·The American people must understand what we
·2· ·are facing today, and that's why all of us here
·3· ·that you're seeing in this program are so focused.
·4· ·(Inaudible) I could not understand was, that the
·5· ·legislatures, the judicial and the executive,
·6· ·meaning the FBI, the Department of Justice, the
·7· ·intelligence community, have failed us with deep
·8· ·staters.· They did not report this.
·9· · · · ·This was the most massive cyber warfare
10· ·attack, so (inaudible) did Cyber Command, did the
11· ·National Security Agency, did the CIA, did the
12· ·Department of Justice, the FBI, report this?· No.
13· · · · ·MIKE LINDELL:· Well, General, to -- to put
14· ·this in perspective then, here -- I'm 100 percent
15· ·that this was the biggest cyber attack in the
16· ·world -- in world history, correct?
17· · · · ·GENERAL MCINERNEY:· That's correct.
18· · · · ·MIKE LINDELL:· Wow.· Well, thank you.· And
19· ·we're going to see -- it's going to -- I was
20· ·telling everyone, General, when this all --
21· ·when -- when this is all revealed, we're going to
22· ·be -- it's going to be a great uniter of all
23· ·people in our country, and we're going to be in
24· ·the greatest revival ever to bring our country
25· ·back to one nation under God.· Thank you.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 134 of 140
                                                                       133

·1· · · · ·GENERAL MCINERNEY:· Well, God bless you for
·2· ·what you're doing, Mike.· Thank you very much.
·3· · · · ·MIKE LINDELL:· Yep.· Thank you, General.
·4· · · · ·And now we have Terry Turchie.· He's the
·5· ·former Deputy Assistant Director of
·6· ·Counterterrorism Division of the FBI.· And you
·7· ·know, Terry, welcome to the show.
·8· · · · ·TERRY TURCHIE:· Thanks, Mike.
·9· · · · ·MIKE LINDELL:· And we've -- we've just
10· ·shown everybody in the world 100 percent evidence
11· ·that this was an attack on our country, and is
12· ·still under attack by China and other countries,
13· ·through the use of these machines used in our
14· ·election.
15· · · · ·I want to ask you, you know, where was the
16· ·FBI -- people out there went, where's the FBI or
17· ·the DOJ during this whole time these last months?
18· · · · ·TERRY TURCHIE:· Sure.· Well, you know, a
19· ·lot of former FBI agents are asking that, too, as
20· ·well, Mike.· They're asking, where's the FBI been?
21· ·They're responsible and accountable for trying to
22· ·protect the country.· That's what our
23· ·counterintelligence money is all about.· That's
24· ·what our counterintelligence division is all
25· ·about.


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 135 of 140
                                                                       134

·1· · · · ·And yet, the question of where were they
·2· ·and where are they, I think probably can best be
·3· ·explained like this:· The FBI is most likely been
·4· ·as compromised as the Democratic party and the
·5· ·rest of the government.· They simply didn't do the
·6· ·job.
·7· · · · ·If they had done the job, all that you just
·8· ·showed in this program would have unfolded inside
·9· ·of a courtroom.· And that's exactly what we should
10· ·be doing right now, we should be talking about the
11· ·penetration of the United States government and
12· ·government agencies --
13· · · · ·MIKE LINDELL:· What we've shown here, too,
14· ·is this -- this is all people.· This has been --
15· ·you know, what we have shown today, this is
16· ·another country taking our country.
17· · · · ·I don't care if you're a Democrat or a
18· ·Republican, we are one nation under God.· And to
19· ·see what -- I mean, I -- I guess I'm very happy
20· ·now that it's all going to get out to the country
21· ·and everything is going to get out.
22· · · · ·And like I said before, during this show,
23· ·there's been nine Supreme Court justices out there
24· ·now watching this show and saying:· Wow, 100
25· ·percent, this was an attack and we are still under


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 136 of 140
                                                                       135

·1· ·attack by other countries, including China,
·2· ·leading the way.
·3· · · · ·And they're -- they -- you know, they
·4· ·fraudulently stole our election, and we have to --
·5· ·I -- and -- and then to see that -- how this could
·6· ·happen with the FBI and the DOJ, these people that
·7· ·were supposed to protect our country, including
·8· ·the Supreme Court.
·9· · · · ·If you were still in the FBI, I guess, what
10· ·would you -- what you be doing right now when you
11· ·see all this 100 percent proof here that this
12· ·happened, what -- if you -- and the FBI now,
13· ·what -- if they're out there, shouldn't they be
14· ·doing something now that this is out -- out in the
15· ·open?
16· · · · ·TERRY TURCHIE:· We -- we would be launching
17· ·a major investigation of cyber activities.
18· · · · ·MIKE LINDELL:· These attacks -- the people
19· ·that -- you know, from China and on down, that --
20· ·who did it, they're very good at trying to bury
21· ·everything, to bury these deviations that came up,
22· ·and then everything opened up, where everybody
23· ·knows that this was stole, but now we know how and
24· ·why.
25· · · · ·So --


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 137 of 140
                                                                       136

·1· · · · ·TERRY TURCHIE:· Well, certainly.· And the
·2· ·purpose of an intelligence operation of this
·3· ·magnitude, whether it's this magnitude or even
·4· ·smaller, is to -- is to conceal itself, and to be
·5· ·so hard to figure out that by the time you get to
·6· ·the conclusion, it's too late.
·7· · · · ·MIKE LINDELL:· Right.
·8· · · · ·TERRY TURCHIE:· And that's why it's very
·9· ·concerning that the FBI -- that already knows and
10· ·has the foundation of the China threat, well in
11· ·its grasp, would try to write-off or just not seem
12· ·to understand --
13· · · · ·MIKE LINDELL:· Right.
14· · · · ·TERRY TURCHIE:· -- how this would have been
15· ·the next -- next logical step for them.
16· · · · ·MIKE LINDELL:· Right.· Well, they weren't
17· ·very --
18· · · · ·(Talking simultaneously.)
19· · · · ·TERRY TURCHIE:· (Inaudible) --
20· · · · ·MIKE LINDELL:· They weren't proactive, but
21· ·at least now we're -- you know, we got -- we're
22· ·going to be reactive.· And -- and we got to be
23· ·reactive first, and then we got to be proactive
24· ·for the future that when this all manifests out, I
25· ·have said it before that this is going to manifest


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 138 of 140
                                                                       137

·1· ·into the greatest revival ever.· It's going to
·2· ·unite our country, not divide us.· It's going to
·3· ·be the great uniting, and we will once again be
·4· ·one nation under God.
·5· · · · ·Thanks, Terry, for coming on.· And God
·6· ·bless.· And -- and thanks for all you've done, and
·7· ·what you continue to do for our country.
·8· · · · ·TERRY TURCHIE:· You, too, Mike.· Thanks for
·9· ·having me.
10· · · · ·MIKE LINDELL:· Thank you.· Now, you've all
11· ·seen absolute proof of the biggest cyber attack in
12· ·history.
13· · · · ·We -- right now it's a takeover of our
14· ·country.· We all see it happening and now you see
15· ·the proof of where it came from and what happened.
16· ·We all need to go out now, each and every one of
17· ·you, and tell your friends, family, people, your
18· ·social media, spread this out everywhere, and to
19· ·show that they all need to watch this.· And they
20· ·all need to know the truth.
21· · · · ·And pretty soon everyone is going to see
22· ·this, including nine Supreme Court justices.
23· ·You're all they're watching, all nine of you, and
24· ·you know what?· I don't know what you can do, but
25· ·I know you're there to protect our country.· And


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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 139 of 140
                                                                       138

·1· ·everything has a precedence.· Everything going
·2· ·on -- this happened then, so we got to base it on
·3· ·that.
·4· · · · ·This is the precedence.· What's going on
·5· ·now, what's going to happen now, is going to
·6· ·change the course of our world and our country
·7· ·forever.
·8· · · · ·I've been getting calls from world leaders;
·9· ·you know, they're looking at us, what's going to
10· ·happen over here?
11· · · · ·Ronald Reagan once said, America is the
12· ·shining city on the hill whose beacon light guides
13· ·freedom-loving people everywhere.· If the lights
14· ·go out here, the lights go out everywhere.
15· · · · ·I want to say that God has had his hand in
16· ·all of this.· This has been on God's timing.· And
17· ·when we get through all this, we will once again
18· ·be one nation under God.
19· · · · ·(End of the recording.)
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 Case 1:21-cv-02130-CJN Document 2-22 Filed 08/10/21 Page 140 of 140
                                                                       139

·1· · · · · · · · · ·C E R T I F I C A T E
·2
·3· · · · · · · · ·I, Jackie MENTECKY, do hereby certify that
·4· ·I was authorized to transcribe the foregoing recorded
·5· ·proceeding, and that the transcript is a true and
·6· ·accurate transcription of my shorthand notes to the best
·7· ·of my ability taken while listening to the provided
·8· ·recording.
·9
10· ·Dated this 29th day of December, 2020.
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15· · · · · · · · · · · · · · ·__________________________
16· · · · · · · · · · · · · · ·Jackie MENTECKY
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